Case No. 1:21-cv-03043-GPG-STV Document 69-3 filed 09/19/22 USDC Colorado pg 1 of
                                     68




                    EXHIBIT B
Case No. 1:21-cv-03043-GPG-STV Document 69-3 filed 09/19/22 USDC Colorado pg 2 of
                                     68




          Report By The
      President’s Task Force
      On Puerto Rico’s Status




                     d e c e m B e R             2 0 0 7
Case No. 1:21-cv-03043-GPG-STV Document 69-3 filed 09/19/22 USDC Colorado pg 3 of
                                     68




         Report By The
     President’s Task Force
     On Puerto Rico’s Status




                     d e c e m B e R             2 0 0 7
Case No. 1:21-cv-03043-GPG-STV Document 69-3 filed 09/19/22 USDC Colorado pg 4 of
                                     68
Case No. 1:21-cv-03043-GPG-STV Document 69-3 filed 09/19/22 USDC Colorado pg 5 of
                                     68




                          RePORT          By    The

                 PReSidenT’S              TaSk        FORce

                On     PueRTO         RicO’S          STaTuS




                              Table of Contents

                         i. members of the Task Force


                       ii. Statement of Guiding Principles


                              iii. executive Orders


                            iV. historical Overview


                          V. Legal analysis of Options


                            Vi. Recent developments


                       Vii. Task Force Recommendations




      RePORT By The PReSidenT’S TaSk FORce On PueRTO RicO’S STaTuS
Case No. 1:21-cv-03043-GPG-STV Document 69-3 filed 09/19/22 USDC Colorado pg 6 of
                                     68
Case No. 1:21-cv-03043-GPG-STV Document 69-3 filed 09/19/22 USDC Colorado pg 7 of
                                     68




                              Members of
           The President’s Task Force on Puerto Rico’s Status

                                 Maggie Grant, Co-Chair
              Deputy Assistant to the President for Intergovernmental Affairs
                                    The White House


                                Steven A. Engel, Co-Chair
             Deputy Assistant Attorney General in the Office of Legal Counsel
                               U.S. Department of Justice


                                   Annabelle Romero
                        Deputy Assistant Secretary for Civil Rights
                            U.S. Department of Agriculture


                                   Mary Tinsley Raul
                          Director of Intergovernmental Affairs
                             U.S. Department of Commerce


                                    Frank Jimenez
                              General Counsel of the Navy
                              U.S. Department of Defense


                                    Margarita P. Pinkos
                  Director of the Office of English Language Acquisition
                               U.S. Department of Education


                                       Theresa Speake
                 Director, of the Office of Economic Impact and Diversity
                                 U.S. Department of Energy


                                   Laura M. Caliguiri
                          Director of Intergovernmental Affairs
                     U.S. Department of Health and Human Services


      RePORT By The PReSidenT’S TaSk FORce On PueRTO RicO’S STaTuS
Case No. 1:21-cv-03043-GPG-STV Document 69-3 filed 09/19/22 USDC Colorado pg 8 of
                                     68




                                       Anne Petera
                   Assistant Secretary for Intergovernmental Programs
                         U.S. Department of Homeland Security


                                  Robert M. Couch
                                  General Counsel
                 U.S. Department of Housing and Urban Development


                                Douglas W. Domenech
                                 Deputy Chief of Staff
                            U.S. Department of the Interior


                                   Leon R. Sequeira
                             Assistant Secretary for Policy
                              U.S. Department of Labor


                                     Portia Palmer
                         Director of Intergovernmental Affairs
                               U.S. Department of State


                                     Kerry O’Hare
                  Deputy Assistant Secretary for Governmental Affairs
                         U.S. Department of Transportation


                                 Anna Escobedo Cabral
                                     U.S. Treasurer
                            U.S. Department of the Treasury


                                  William McLemore
                Deputy Assistant Secretary for Intergovernmental Affairs
                         U.S. Department of Veterans Affairs




      RePORT By The PReSidenT’S TaSk FORce On PueRTO RicO’S STaTuS
Case No. 1:21-cv-03043-GPG-STV Document 69-3 filed 09/19/22 USDC Colorado pg 9 of
                                     68




                            Statement of
                          Guiding Principles


        The mission of the President’s Task Force          of individuals, elected officials, and other
     on Puerto Rico’s Status (“Task Force”) is to          representatives of the people of Puerto Rico
     provide options for Puerto Rico’s future status       to ensure that views and positions have been
     and relationship with the Government of the           objectively considered irrespective of affiliation
     united States. The Task Force has approached          or ideology.
     this mission without prejudice towards a status          The Task Force published its first report
     option and has developed options that are             in december 2005. This report builds on the
     compatible with the constitution and basic            prior report and carries out the Task Force’s
     laws and policies of the united States.               continuing mandate to report, no less than
        The Task Force has developed these options         every two years, on progress made in the deter­
     after listening to and considering the views          mination of Puerto Rico’s ultimate status.




       RePORT By The PReSidenT’S TaSk FORce On PueRTO RicO’S STaTuS

                                                       1
Case No. 1:21-cv-03043-GPG-STV Document 69-3 filed 09/19/22 USDC Colorado pg 10
                                    of 68




          executive Orders concerning
              Puerto Rico’s Status


        President George h.W. Bush issued a               on Puerto Rico’s Status and the rules for its
     memorandum on november 30, 1992,                     membership. This executive Order outlines
     to heads of executive departments and                the policy and functions of the Task Force
     agencies establishing the current admin­             in identifying the options for Puerto Rico’s
     istrative relationship between the Federal           future status and the process for realizing an
     Government and the commonwealth of                   option. (See appendix B.)
     Puerto Rico. This memorandum directs all                On april 30, 2001, President George
     Federal departments, agencies, and officials         W. Bush amended executive Order 13183,
     to treat Puerto Rico administratively as if          extending the deadline for the Task Force
     it were a State insofar as doing so would            to forward a report to the President until
     not disrupt Federal programs or operations.          august 2001. (See appendix c.)
     President Bush’s memorandum remains in
                                                            President Bush signed an additional
     effect until Federal legislation is enacted to
                                                          amendment to executive Order 13183 on
     alter the status of Puerto Rico in accordance
                                                          december 3, 2003, which established the
     with the freely expressed wishes of the
                                                          Task Force co-chairs and instructed the
     people of Puerto Rico. (See appendix a.)
                                                          Task Force to issue reports as needed, but
        On december 23, 2000, President William           no less than once every two years. (See
     J. clinton signed executive Order 13183,             appendix d.)
     which established the President’s Task Force




      RePORT By The PReSidenT’S TaSk FORce On PueRTO RicO’S STaTuS

                                                      2
Case No. 1:21-cv-03043-GPG-STV Document 69-3 filed 09/19/22 USDC Colorado pg 11
                                    of 68




                      historical Overview



        The commonwealth of Puerto Rico has            Law 600 gave Puerto Rico the right to
     a rich tradition and history. as united           establish a government and a constitution
     States citizens, the people of Puerto Rico        for the internal administration of Puerto
     have enhanced american society and                Rico “on matters of purely local concern.”
     culture. among their many contributions,          The people of Puerto Rico approved the
     Puerto Ricans have been recognized for            act and then approved a new constitu­
     their service and sacrifice in the united         tion by referendum, which would establish
     States armed Forces.                              the “commonwealth of Puerto Rico.”
        The 2005 Task Force Report described           congress then approved that constitution
     in detail the modern history of Puerto            in 1952, subject to several conditions that
     Rico and its relationship with the united         Puerto Rico fulfilled through amendments
     States, and we summarize that history             in 1953.
     here.     The relationship between the               Since the adoption of the common­
     united States and Puerto Rico dates to            wealth system, Puerto Rico has held four
     1898, when the island was ceded to the            plebiscites to ascertain the views of its
     united States by Spain, pursuant to the           people as to the status question. in 1967,
     Treaty of Paris, which formally ended the         a majority chose to continue the existing
     Spanish-american War. The united States           commonwealth status, and, in 1991, a
     governed the island through a u.S. mili­          majority similarly rejected a call to review
     tary governor until 1900, when congress           that status. in 1993, a plurality of 48.6%
     passed the Foraker act, which established a       voted for the commonwealth status, while
     civilian government, including a non-voting       46.3% favored statehood and 4.4% inde­
     Resident commissioner in congress. in             pendence.
     1917, congress established the island as an          The people of Puerto Rico most recently
     “organized but unincorporated” territory          voted on their status in 1998, through
     and granted u.S. citizenship to the people        a plebiscite presenting them with four
     of Puerto Rico.                                   status options: territorial commonwealth,
        in 1952, congress passed Public Law            free association, statehood, or indepen­
     600, the Puerto Rican Federal Relations           dence. The leadership for the Popular
     act, which provided the people of Puerto          democratic Party, while backing continued
     Rico with self-government with respect to         commonwealth status, campaigned in favor
     internal affairs and administration. Public       of “none of the above” because of disagree-



      RePORT By The PReSidenT’S TaSk FORce On PueRTO RicO’S STaTuS

                                                   3
Case No. 1:21-cv-03043-GPG-STV Document 69-3 filed 09/19/22 USDC Colorado pg 12
                                    of 68




     ment with the “territorial” definition of the       for statehood, 2.54% voted for indepen­
     commonwealth option. in the subsequent              dence, 0.29% voted for free association,
     vote, a majority (50.3%) voted for “none            and 0.06% voted for a territorial common-
     of the above.” in addition, 46.5% voted             wealth.




      RePORT By The PReSidenT’S TaSk FORce On PueRTO RicO’S STaTuS

                                                     4
Case No. 1:21-cv-03043-GPG-STV Document 69-3 filed 09/19/22 USDC Colorado pg 13
                                    of 68




        Legal analysis of Options for
            Puerto Rico’s Status


        The 2005 Task Force Report explained           The constitution of Puerto Rico establishes
     that the u.S. constitution allows for three       a republican, popularly elected government
     options for the future status of Puerto           with significant authority over local affairs,
     Rico: continuing territorial status, state­       and since 1953, the people of Puerto
     hood, and independence. in so doing, the          Rico have exercised significant powers of
     Task Force did not break new ground.              self-government. as the Supreme court
     The department of Justice affirmed the            has recognized, under the commonwealth
     commonwealth’s territorial status in 1959,        system, Puerto Rico currently exercises
     shortly after the enactment of Public Law         “a measure of autonomy comparable to
     600, and the Supreme court has held               that possessed by the States.” Examining
     the same. See, e.g., Harris v. Rosario,           Bd. v. Flores de Otero, 426 u.S. 572, 597
     446 u.S. 651 (1980). Since 1991, the              (1976).
     executive Branch, through the department             When “commonwealth” is used to
     of Justice, has further emphasized that           describe the substantial political autonomy
     the constitution contemplates only three          enjoyed by Puerto Rico, the term appro­
     options for Puerto Rico’s future status.          priately captures Puerto Rico’s special
     (See appendices e and F.)                         relationship with the united States. The
        This section reiterates and summarizes         commonwealth system does not, however,
     the conclusions of the 2005 Task Force            describe a legal status different from Puerto
     Report.                                           Rico’s constitutional status as a “territory”
                                                       subject to congress’s plenary authority
                                                       under the Territory clause “to dispose of
       1.   Continuing Territorial Status
                                                       and make all needful Rules and Regulations
        The existing form of government                respecting the Territory … belonging to the
     in Puerto Rico is often described as a            united States.” congress may continue the
     “commonwealth,” and this term recognizes          current commonwealth system indefinitely,
     the significant powers of self-government         but it necessarily retains the constitutional
     Puerto Rico enjoys under current law. as          authority to revise or revoke the powers
     discussed above, congress established this        of self-government currently exercised by
     arrangement through the passage of Public         the government of Puerto Rico. Thus,
     Law 600 and through the subsequent                while the commonwealth of Puerto Rico
     approval of the constitution drafted and          enjoys significant political autonomy, it
     amended by the people of Puerto Rico.             is important to recognize that, as long as


      RePORT By The PReSidenT’S TaSk FORce On PueRTO RicO’S STaTuS

                                                   5
Case No. 1:21-cv-03043-GPG-STV Document 69-3 filed 09/19/22 USDC Colorado pg 14
                                    of 68




     Puerto Rico remains a territory, its system         purport to adopt a covenant between Puerto
     is subject to revision by congress.                 Rico and the united States that could not
        Both before and since the issuance of            be altered without the “mutual consent”
     the 2005 Task Force Report, some have               of both entities. although the executive
     questioned whether Puerto Rico’s status as          Branch had once taken a different view,
     a united States territory is consistent with        the Task Force endorsed the constitutional
     statements that the united States made to           understanding that the executive Branch
     the united nations in 1953 following the            has maintained across administrations
     adoption of Puerto Rico’s constitution, in          since 1991.
     requesting that Puerto Rico be removed                 The u.S. constitution would not permit
     from the list of non-self-governing terri­          the “new commonwealth” proposal
     tories. in its official request to the united       because land under united States sover­
     nations, the united States stated that              eignty must either be a State or a territory.
     congress had given Puerto Rico the freedom          as the Supreme court stated over a hundred
     to conduct its own internal government              years ago, if land is “not included in any
     subject only to compliance with federal             State,” it “must necessarily be governed by
     law and the u.S. constitution. The official         or under the authority of congress.” First
     request did not state that congress could           Nat. Bank v. Yankton County, 101 u.S.
     make no changes in Puerto Rico’s status             129, 133 (1879). Thus, although congress
     without its consent. it is true that, prior         is free to allow a territory to exercise
     to the submission of this official request,         powers of self-government (as congress
     the u.S. representative to the u.n. General         has done with respect to Puerto Rico), it
     assembly indicated orally that common               may not restrict the authority of a future
     consent would be needed to make changes             congress over that territory.
     in the relationship between Puerto Rico                This limitation on the power of congress
     and the united States. notwithstanding              reflects the general rule that one legisla­
     this statement, however, the department of          ture cannot bind a subsequent one. each
     Justice concluded in 1959 that Puerto Rico          congress may repeal or amend laws that a
     remained a territory, and as noted above,           previous congress enacted, and congress
     the Supreme court, while recognizing that           may pass laws inconsistent with treaties.
     Puerto Rico exercises substantial political         By the same token, a future congress
     autonomy under the current common­                  must have the power to disavow commit­
     wealth system, has held that Puerto Rico            ments contained in a covenant between
     remains fully subject to congressional              the Federal Government and one of its
     authority under the Territory clause. See           territories, regardless of the terms of that
     Harris, 446 u.S. at 651-52.                         covenant.
        The 2005 Task Force Report also                     accordingly, the “new commonwealth”
     explained why existing constitutional               proposal that some have proposed contem­
     principles foreclose the so-called “new             plates a political status for Puerto Rico
     commonwealth” status, which would                   that is not permitted by the united States


      RePORT By The PReSidenT’S TaSk FORce On PueRTO RicO’S STaTuS

                                                     6
Case No. 1:21-cv-03043-GPG-STV Document 69-3 filed 09/19/22 USDC Colorado pg 15
                                    of 68




     constitution. as long as Puerto Rico                portionment, following the 2010 census.
     remains a territory of the united States,           in the interim, congress could temporarily
     congress may not impair the constitutional          increase membership of the house to allow
     authority of later congresses to alter the          Puerto Rico to elect one or more members.
     political powers of the government of
     Puerto Rico by entering into a covenant or            3.   Independence
     compact with Puerto Rico or its residents.
                                                            another option for the future status
                                                         of Puerto Rico is independence from the
       2.   Statehood                                    united States. congress’s power under the
        a second option for the future status            constitution’s Territory clause includes
     of Puerto Rico is statehood. if admitted            the power to relinquish its sovereignty over
     as a State, Puerto Rico would stand on              a territory. See u.S. const., art. iV, cl.
     equal footing with the existing States in all       2. congress thus may determine whether
     respects.                                           and under what conditions a territory may
        at present, Puerto Rico is an “unin­             receive independence and may regulate
     corporated” territory, subject only to              those conditions until the point of inde­
     the most fundamental provisions of the              pendence.
     constitution. One notable consequence                  independence would have significant
     of this status is that the constitution’s           legal consequences for Puerto Rico. as
     Tax uniformity clause is not applicable to          an independent nation, Puerto Rico would
     Puerto Rico, allowing congress to exempt            not be subject to the authority of the
     the Puerto Rican people from most federal           united States and would be free to direct
     income tax laws and to provide them with            its own relations with foreign nations. By
     other tax preferences not provided to resi­         the same token, Puerto Rico would not
     dents of the States. These tax preferences          automatically be entitled to receive mone­
     would become impermissible under the                tary support or military protection from
     constitution if Puerto Rico were “incor­            the united States. additionally, indepen­
     porated” into the country as part of the            dence from the united States could affect
     process of being admitted as a State.               the citizenship of Puerto Rico’s residents.
        Statehood would, of course, confer               individuals born in Puerto Rico are citizens
     upon Puerto Rico and its citizens certain           of the united States by statute, 8 u.S.c.
     political rights they do not currently              § 1402. The general rule is that citizen­
     possess. Puerto Rican citizens would be             ship follows sovereignty. So if Puerto Rico
     entitled to vote for President, and, as             were to become an independent nation,
     a State, Puerto Rico would elect two                Puerto Rico’s residents could become citi­
     u.S. Senators and full voting members in            zens of the newly independent nation and
     the u.S. house of Representatives. The              cease to be citizens of the united States,
     number of members in the house would                unless a different rule were prescribed by
     be determined based on Puerto Rico’s                legislation or treaty.
     population at the next congressional reap­


      RePORT By The PReSidenT’S TaSk FORce On PueRTO RicO’S STaTuS

                                                     7
Case No. 1:21-cv-03043-GPG-STV Document 69-3 filed 09/19/22 USDC Colorado pg 16
                                    of 68




        There are a variety of different paths         States had administered since World War
     that Puerto Rico could take to indepen­           ii, became independent after congress
     dence. For example, the Territory of              approved negotiated “compacts of free
     the Philippines received its independence         association” with the territories. The
     by the Philippine independence act of             freely associated states retained close ties
     1934. The act authorized the Philippine           to the united States, however, and the
     government to draft a constitution for            united States continues to provide security,
     an interim commonwealth, which upon               defense, and various other types of finan­
     approval by the people of the Philippines         cial assistance and services. citizens of the
     and the u.S. President initiated an interim       freely associated states may generally enter
     commonwealth. The act provided that,              the united States as non-immigrants and
     after a transition period of ten years,           may establish residence and work here.
     the President, by proclamation, would                among the constitutionally available
     withdraw and surrender united States juris­       options, freely associated status may come
     diction and sovereignty and “recognize the        closest to providing for the relationship
     independence of the Philippines as a sepa­        that advocates for “new commonwealth”
     rate and self-governing nation.” in 1946,         appear to desire. But it would need to be
     President harry S Truman did proclaim             made clear to the people of Puerto Rico
     independence, and the two nations entered         that freely associated status is a form of
     into a Treaty of General Relations.               independence from the united States and
        another possible model of independence         cannot be made immune from the possi­
     is that of the “freely associated states”         bility of unilateral termination by the
     of micronesia, the marshall islands, and          united States.
     Palau. These states, which the united




      RePORT By The PReSidenT’S TaSk FORce On PueRTO RicO’S STaTuS

                                                   8
Case No. 1:21-cv-03043-GPG-STV Document 69-3 filed 09/19/22 USDC Colorado pg 17
                                    of 68




                      Recent developments



         Section 4 of executive Order 13183 (as             Puerto Rican people would choose among
     amended by executive Order 13319) directs              four status options (continuing the current
     the Task Force to “report on its actions               status, statehood, independence, and inde­
     to the President … on progress made in                 pendence as a freely associated state).
     the determination of Puerto Rico’s ultimate          • The second category, represented in
     status.” Following the issuance of the 2005            h.R. 1230 (sponsored by Representative
     Task Force Report, the former co-chair of              Velázquez), would support the convening
     the Task Force, deputy assistant attorney              of a constitutional convention in Puerto
     General c. kevin marshall, testified before            Rico, the purpose of which would be to
     the house committee on natural Resources,              develop a proposal for the future status of
     its Subcommittee on insular affairs, and the           the island to be voted upon by the Puerto
     Senate committee on energy and natural                 Rican people.
     Resources on the Task Force Report and
                                                          • A third category would combine elements
     proposed legislation. (See appendix G.)
                                                            of the first two categories. an example
        Since the issuance of the 2005 Report,              of such legislation is h.R. 900 (sponsored
     members of congress have proposed several              by Representative Serrano), which was
     measures to address the future status of               passed by the house natural Resources
     Puerto Rico. each of these proposals seeks             committee on October 27, 2007. as
     to allow the Puerto Rican people to express            amended, h.R. 900 would direct Puerto
     their will regarding the future status of the          Rico to hold a plebiscite by december
     island, although they would do so in different         31, 2009, in which voters would be asked
     ways. These proposals fall into three general          to decide whether Puerto Rico should
     categories:                                            “consider a constitutionally viable perma­
     • The first category of legislation would seek         nent non-territorial status” or “continue
       to ascertain the views of the Puerto Rican           to have its present form of territorial
       people through a plebiscite. Some of the             status and relationship with the united
       proposed bills would sanction a plebiscite           States.” if voters favor the first option,
       similar to the one recommended in the                the bill would recognize the right of the
       2005 Task Force Report. Those bills                  people of Puerto Rico either to conduct
       include S. 2661 (sponsored by Senator                an additional plebiscite “to consider a
       martinez) and h.R. 4687 (co-sponsored                self-determination option with the results
       by Representatives Fortuño and Serrano),             presented to congress” or to call a consti­
       both of which were introduced in the 109th           tutional convention for the purpose of
       congress. Other bills, such as S. 1936               proposing a “self-determination option”
       (sponsored by Senator Salazar), would                to the Puerto Rican people.
       authorize a single plebiscite in which the

      RePORT By The PReSidenT’S TaSk FORce On PueRTO RicO’S STaTuS

                                                      9
Case No. 1:21-cv-03043-GPG-STV Document 69-3 filed 09/19/22 USDC Colorado pg 18
                                    of 68




          Task Force Recommendations



        as detailed earlier and in the 2005              might express their will regarding the
     Report, the Task Force concludes that there         future status of the island. The Task Force
     are only three options available under the          continues to believe that the two-stage
     u.S. constitution for the future status of          plebiscite would provide clearer guidance
     Puerto Rico:                                        for congress than other procedures in
     • Continue as a territory. The current              which it is possible that none of the avail­
       status of Puerto Rico as a common­                able options would win a majority of votes.
       wealth may continue indefinitely but              at the same time, there are other ways to
       remains subject to future modification            proceed, and the Task Force’s recommen­
       by congress.                                      dations do not preclude alternative action
                                                         by Puerto Rico itself to express its views to
     • Statehood. Under this option, Puerto
                                                         congress.
       Rico would become the 51st State with
       standing equal to the other 50 States.               The following are the recommendations
                                                         of the Task Force:
     • Independence. Under this option, Puerto
       Rico would become a sovereign nation,                1. The Task Force reiterates its prior
       independent from the united States.               recommendation that congress provide for
                                                         a Federally sanctioned plebiscite as soon as
        The democratic will of the Puerto Rican
                                                         practicable in which the people of Puerto
     people is paramount for determining the
                                                         Rico will be asked to state whether they
     future status of the territory. To this end,
                                                         wish to maintain the current territorial
     the 2005 Task Force Report recommended
                                                         status or to pursue a constitutionally viable
     a two-stage plebiscite to determine whether
                                                         path toward a permanent non-territorial
     the Puerto Rican people wish to retain the
                                                         status. congress should provide for this
     status quo, and if not, which of the two
                                                         plebiscite to occur on a date certain.
     available options they prefer. The Task
     Force concluded that such a process would              2. The Task Force reiterates its prior
     be the best way to ascertain the popular            recommendation that if the people of
     will in a way that provides clear guidance          Puerto Rico elect to pursue a permanent
     for future action by congress.                      non-territorial status, congress should
                                                         provide for an additional plebiscite to
        The Task Force acknowledges the
                                                         allow the people of Puerto Rico to choose
     pending legislative measures that would
                                                         between one of the permanent non-territo­
     provide similar or alternative procedures
                                                         rial options permitted by the constitution:
     through which the people of Puerto Rico
                                                         statehood or independence. Once the


      RePORT By The PReSidenT’S TaSk FORce On PueRTO RicO’S STaTuS

                                                    10
Case No. 1:21-cv-03043-GPG-STV Document 69-3 filed 09/19/22 USDC Colorado pg 19
                                    of 68




     people of Puerto Rico have selected one            recommends, consistent with the 1992
     of the two options, we would encourage             memorandum of President George h.W.
     congress to begin a process of transition          Bush, that a plebiscite occur periodically
     consistent with that option.                       as long as that status continues, to keep
       3. if the people elect to maintain Puerto        congress informed of the people’s wishes.
     Rico’s current status, the Task Force




      RePORT By The PReSidenT’S TaSk FORce On PueRTO RicO’S STaTuS

                                                   11
Case No. 1:21-cv-03043-GPG-STV Document 69-3 filed 09/19/22 USDC Colorado pg 20
                                    of 68
Case No. 1:21-cv-03043-GPG-STV Document 69-3 filed 09/19/22 USDC Colorado pg 21
                                    of 68




                         APPENDIX
                             A
         Case No. 1:21-cv-03043-GPG-STV Document 69-3 filed 09/19/22 USDC Colorado  pg 22
                                                                                 57093
                                             of 68
Federal Register
Vol. 57, No. 232
                              Presidential Documents
Wednesday. December 2, 1992



Title 3—                      Memorandum of November 30, 1992

The President                 Memorandum for the Heads of Executive Departments and
                              Agencies


                              Puerto Rico is a self-governing territory of the United States whose residents
                              have been United States citizens since 1917 and have fought valorously
                              in five wars in the defense of our Nation and the liberty of others.
                              On July 25, 1952, as a consequence of steps taken by both the United
                              States Government and the people of Puerto Rico voting in a referendum,
                              a new constitution was promulgated establishing the Commonwealth of Puer-
                              to Rico. The Commonwealth structure provides for self-government in respect
                              of internal affairs and administration, subject to relevant portions of the
                              Constitution and the laws of the United States. As long as Puerto Rico
                              is a territory, however, the will of its people regarding their political status
                              should be ascertained periodically by means of a general right of referendum
                              or specific referenda sponsored either by the United States Government
                              or the Legislature of Puerto Rico.
                              Because Puerto Rico's degree of constitutional self-government, population,
                              and size set it apart from other areas also subject to Federal jurisdiction
                              under Article IV, section 3, clause 2 of the Constitution, I hereby direct
                              all Federal departments, agencies, and officials, to the extent consistent
                              with the Constitution and the laws of the United States, henceforward to
                              treat Puerto Rico administratively as if it were a State, except insofar as
                              doing so with respect to an existing Federal program or activity would
                              increase or decrease Federal receipts or expenditures, or would seriously
                              disrupt the operation of such program or activity. With respect to a Federal
                              program or activity for which no fiscal baseline has been established, this
                              memorandum shall not be construed to require that such program or activity
                              be conducted in a way that increases or decreases Federal receipts or expendi-
                              tures relative to the level that would obtain if Puerto Rico were treated
                              other than as a State.
                              If any matters arise involving the fundamentals of Puerto Rico's status,
                              they shall be referred to the Office of the President.
                              This guidance shall remain in effect until Federal-legislation is enacted
                              altering the current status of Puerto Rico in accordance with the freely
                              expressed wishes of the people of Puerto Rico.
                              The memorandum for the heads of executive departments and agencies
                              on this subject, issued July 25,1961, is hereby rescinded.
                              This memorandum shall be published in the Federal Register.
                              Signature of George Bush.



                              THE WHITE HOUSE,
                              Washington, November 30, 1992.
1FR Doc. 92-29441
Filed 12-1-92: 11:27 am]
Billing cods 3195-01-M




                                     HeinOnline -- 57 Fed. Reg. 57093 1992
Case No. 1:21-cv-03043-GPG-STV Document 69-3 filed 09/19/22 USDC Colorado pg 23
                                    of 68




                         APPENDIX
                             B
Case No. 1:21-cv-03043-GPG-STV Document 69-3 filed 09/19/22 USDC Colorado pg 24
                                    of 68
       Federal Register / Vol. 65, No. 251 / Friday, December 29, 2000 / Presidential Documents    82889

                             Presidential Documents



                             Executive Order 13183 of December 23, 2000

                             Establishment of the President’s Task Force on Puerto Rico’s
                             Status


                             By the authority vested in me as President by the Constitution and the
                             laws of the United States of America, including Public Law 106-346, it
                             is hereby ordered as follows:
                             Section 1. Policy. It is the policy of the executive branch of the Government
                             of the United States of America to help answer the questions that the
                             people of Puerto Rico have asked for years regarding the options for the
                             islands’ future status and the process for realizing an option. Further, it
                             is our policy to consider and develop positions on proposals, without pref­
                             erence among the options, for the Commonwealth’s future status; to discuss
                             such proposals with representatives of the people of Puerto Rico and the
                             Congress; to work with leaders of the Commonwealth and the Congress
                             to clarify the options to enable Puerto Ricans to determine their preference
                             among options for the islands’ future status that are not incompatible with
                             the Constitution and basic laws and policies of the United States; and
                             to implement such an option if chosen by a majority, including helping
                             Puerto Ricans obtain a governing arrangement under which they would
                             vote for national government officials, if they choose such a status.
                             Sec. 2. The President’s Task Force on Puerto Rico’s Status. There is estab­
                             lished a task force to be known as ‘‘The President’s Task Force on Puerto
                             Rico’s Status’’ (Task Force). It shall be composed of designees of each
                             member of the President’s Cabinet and the Co-Chairs of the President’s
                             Interagency Group on Puerto Rico (Interagency Group). The Task Force
                             shall be co-chaired by the Attorney General’s designee and a Co-Chair of
                             the Interagency Group.
                             Sec. 3. Functions. The Task Force shall seek to implement the policy set
                             forth in section 1 of this order. It shall ensure official attention to and
                             facilitate action on matters related to proposals for Puerto Rico’s status
                             and the process by which an option can be realized. It shall provide advice
                             and recommendations on such matters to the President and the Congress.
                             It shall also provide advice and recommendations to assist the Executive
                             Office of the President in fulfilling its responsibilities under Public Law
                             106-346 to transfer funding to the Elections Commission of the Common­
                             wealth of Puerto Rico for public education on and a public choice among
                             options for Puerto Rico’s future status that are not incompatible with the
                             Constitution and the basic laws and policies of the United States.
                             Sec. 4. Report. The Task Force shall report on its actions to the President
                             not later than May 1, 2001, and thereafter as needed but not less than
   Case No. 1:21-cv-03043-GPG-STV Document 69-3 filed 09/19/22 USDC Colorado pg 25
                                       of 68
82890           Federal Register / Vol. 65, No. 251 / Friday, December 29, 2000 / Presidential Documents

                                      annually on progress made in the determination of Puerto Rico’s ultimate
                                      status.




                                                           Signature of William J C


                                      THE WHITE HOUSE,
                                      December 23, 2000.


[FR Doc. 00–33451
Filed 12–28–00; 8:45 am]
Billing code 3195–01–P
Case No. 1:21-cv-03043-GPG-STV Document 69-3 filed 09/19/22 USDC Colorado pg 26
                                    of 68




                         APPENDIX
                             C
   Case No. 1:21-cv-03043-GPG-STV Document 69-3 filed 09/19/22 USDC Colorado pg 27
                                       of 68
                    Federal Register / Vol. 66, No. 85 / Wednesday, May 2, 2001 / Presidential Documents      22105

                                        Presidential Documents



                                        Executive Order 13209 of April 30, 2001

                                        Amendment to Executive Order 13183, Establishment of the
                                        President’s Task Force on Puerto Rico’s Statis


                                        By the authority vested in me as President by the Constitution and the
                                        laws of the United States of America, and in order to extend by 3 months
                                        the time in which the President’s Task Force on Puerto Rico’s Status is
                                        to report to the President as directed in Executive Order 13183 of December
                                        23, 2000, it is hereby ordered that section 4 of Executive Order 13183
                                        is amended by deleting ‘‘May 1, 2001’’ and inserting in lieu thereof ‘‘August
                                        1, 2001’’.
                                        Signature of George Bush




                                        THE WHITE HOUSE,
                                        April 30, 2001.


[FR Doc. 01–11210
Filed 5–1–01; 9:07 am]
Billing code 3195–01–P
Case No. 1:21-cv-03043-GPG-STV Document 69-3 filed 09/19/22 USDC Colorado pg 28
                                    of 68




                         APPENDIX
                             D
   Case No. 1:21-cv-03043-GPG-STV Document 69-3 filed 09/19/22 USDC Colorado pg 29
                                       of 68
                                                                                                    68233

Federal Register
                           Presidential Documents
Vol. 68, No. 235

Monday, December 8, 2003



Title 3—                   Executive Order 13319 of December 3 , 2003

The President              Amendment to Executive Order 13183, Establishment of the
                           President’s Task Force on Puerto Rico’s Status


                           By the authority vested in me as President by the Constitution and the
                           laws of the United States of America, it is hereby ordered that Executive
                           Order 13183 of December 2 3 , 2000, as amended, is further amended as
                           follows:
                             (1) Section 2 is amended by deleting the second and third sentences,
                           and inserting in lieu thereof the following: ‘‘It shall be composed of designees
                           of each member of the President’s Cabinet and the Deputy Assistant to
                           the President and Director for Intergovernmental Affairs. The Task Force
                           shall be co-chaired by the Attorney General’s designee and the Deputy
                           Assistant to the President and Director for Intergovernmental Affairs.’’
                             (2) By deleting section 4, and inserting in lieu thereof the following:
                           ‘‘Sec. 4. Report. The Task Force shall report on its actions to the President
                           as needed, but no less frequently than once every 2 years, on progress
                           made in the determination of Puerto Rico’s ultimate status.’’
                             Signature of George Bush




                           THE WHITE HOUSE,
                           December 3, 2003.


[FR Doc. 03–30513
Filed 12–5–03; 8:45 am]
Billing code 3195–01–P
Case No. 1:21-cv-03043-GPG-STV Document 69-3 filed 09/19/22 USDC Colorado pg 30
                                    of 68




                         APPENDIX
                             E
Case No. 1:21-cv-03043-GPG-STV Document 69-3 filed 09/19/22 USDC Colorado pg 31
                                    of 68

                                                              U.S. Department of Justice

                                                              Offiit of Legislative Affairs




                                                              Woshington, D.C.20530

                                                              J a n u a r y 18, 2001
  The Honorable Frank H. Murkowski
  Chairman, Committee on Energy and Natural Resources
  United States Senate
  Washington, DC 205 10

  Dear Mr. Chairman:

          This is in response to your letter to President Clinton requesting that the Administration
  provide an analysis o f the status options for Puerto Rico favored by the three principleqolitical
  parties in Puerto Rico This letter provides comments on two proposals that were voted on in
  the December 1998 political status plebiscite in Puerto Rico, as well as a third proposal outlined
  by the Popular Democratic Party in its 2000 platfom. The first proposal, for Statehood, is
  outlined in option number 3 in Puerto Rico's recent Petition to the Govenvnent of ;he United
  Stales. The second proposal, for Independence, is outlined in option number 4 of that petition.
  The third proposal, the "New Commonwealth" option, is described in the Popular Democratic
  Party pla~formdocuments. Given the complexity and number of proposals on which our
  comments nave been sought, w e address only a limited number of issues raised by the proposals,
  most of them constitutional in nature.

  1.     Statehood

           The Statehood option1 provides that Puerto Rico would become "a sovereign state, with
  rights, responsibilities and benefits completely equivalent to those enjoyed by the rest of t k


           The Statehood proposal contemplates a peti!ion to Congress asking it to provide for the follo\ling:
                 The admission of Puerto Rico into the Union of the United States of America as
                 a Iovereign state, with rights, responsibilities and benefits completely equal to
                 hose enjoyed by the rest of the states. Retaining, furthermore, the sovereignty
                 of Puerto Rico in those matters which are not delegaled by the Constitution of
                 the United Stales lo the Federal Government. The rigllt to the presidenlial vote
                 and equal representation in the Senate and proportional representation in the
                 House of Representatives, mlhouc impairment to Llle representation of the rest
                 of the states. Also maintaining Lhe present Constitution of Puerto Rico and the
                 same Commonwealth laws, and with permanent United Slates citizenship
                 guaranteed by Lhe Constitution of the United Slates of America. The provisions
                 of the Fedcrd law on the use of the English languzge in the agencies and courts
                 of the Federal Govenrr.ectin ~e fifty sla:es of the Union shall apply equally in
                 h e Slate of Puerio Rico, as at present.
Case No. 1:21-cv-03043-GPG-STV Document 69-3 filed 09/19/22 USDC Colorado pg 32
                                    of 68




   stetes." The principle that a new State stands on "equal fociing wiih the o ~ g i n a States
                                                                                          l      in all
   respects whatsoever" has been recognized since the first days of the republic. Coyle v. Sn~ifh,      221
   U.S. 559, 567 (1 91 I) (quoting 1796 declaration upon the admission of Tennessee). Supreme
   Court caselaw makes clear that, as a State, Pueno Rico would be "equal in power, dignity, and
   authority" to the other States. Id. This shift in status t o statehood would also have tax
   consequences not fully articulated in the st3tehood proposal itself. Currently, as an
   unincorporated tenitory, Pueno Rico is not subject to the Tax Uniformity Clause, which requires
   that "all Duties, Imposts, and Excises" imposed by Congress "shall be uniform throughout the
   United States" U S . Const. art. I, 5 8, cl. I ; see Downer v. Bidwell, 182 U.S. 244 (1901). As a
   result, it can be and is exempted from some federal tax laws (including most federal income tax
   laws), and it has other tax preferences not applicable t o the States, although it also does not
   receive certain benefits such as the earned income tax credit. See 4 8 U.S.C. 5 734 (1994)
   (providing that, with certain exceptions, "the internal revenue laws" shall not apply in Puerto
   Rico); 26 U.S.C. 5 32 (earned income tax credit). Were Puerto Rico t o become a State, however,
   it would be covered by the Tax Uniformity Clause and many, if not all, ofthese different tax
   treatments could not constitutionally be preserved on a permanent basis. See Politica~Status of
   Puerto Rico: Hearings on S. 244 Before the Senate Comm. on Energy and Natural Resources,
   102d Cong. 189-90 (199 1) (testimony of Attorney General Richard Thornburgh) ("Thornburgh
   Testimony") (reaching this conclusion, but also noting that the Tax Uniformity Clause permits the
   use of narrowly tailored transition provisions under which Puerto Rico's tax status need not be
   altered immediately once the decision werz made to bring it into the Union as a State).

           In addition, the statement in the Statehood option that admitting Puerto Rico as a State
   would no; result in the "impailment of the representation of the rest of the states" may be
   inaccurate. If Puerto Rico gains representatives in Congress, it will affect the representation of
   the rest ofthe States in both the Senate and the House. In the Senate, because granting Puerto
   Rico two senators will increase the total membership of the Senate, the representation of the other
   States in the Senate will decline as a proportion ofthe whole, arguably "impair[inglWtheir
   representation. Similarly, if the total number of representatives in the House o f Representatives
   were :o he increased btyond its iuirerlt number of435 with the addition of representatives from
   Puerto Rico, then the representation of current S t ~ t eas s a proportion of the whole would decline,
   again arguably "impair[ingJ" their representation. If, on the other hand, the total nilmber of
   representatives were to remain fixed at 435, then the fact that Puerto Rico had achieved
   representation would necessarily mean that at least one State would have fewer representatives.
   The representation of that State (or States) would arguably be "impair[edIn in two ways: its
   number ofrepresentatives in the House would decline, and (like all the other States) its
   representation would decline as a proportion of the whole.'

            2
              In the past, Congress permanently increased the number of reprerentativcs in the l-louse when new
   States were admitted. Most recently, however, when Hawaii and Alaska were admitted in 1959, [he number of
   Members of Congress was tempolarily increased (from435 lo a total of437) by the addition of a representalivc
   from each oithese Stales; following the 1960 cennls, however, the number oir:presenta:ives relurned lo 435, and
   the Nouse was reapponioned. See Comptroller General, Puerlo Rico T Polilicol Future:A Divisive Issue with
   Many Dimensions 103 (1981).
Case No. 1:21-cv-03043-GPG-STV Document 69-3 filed 09/19/22 USDC Colorado pg 33
                                    of 68




           Moreover, the clalise "maintaining the present Constitution of Puerto Rico and the same
  Commonwealth laws" contained in the Statehood option cou!d be read as stating that the
  admission of Puerto Rjco as a State would have no effect on the constitution and laws of Puerto
  Rico. Such a statement might not be entirely correct. Currently, not all provisions of the United
  States Constitution are h l l y applicable to Puerto Rico. See Baizac v. Porto Rico,258 U.S. 298,
  304-3 14 (1922) (Sixth Amendment right to jury trial not applicable in Puerto Rico); Downes,182
  U.S. at 291 (White, J., concurring in the judgment) (explaining that only constitutional provisions
  that are "of so fundamental a nature that they cannot be transgressed" apply to unincorporated
  territories such as Puerto Rico). If Puerto Rico were to become a State, however, it would then
  be subject to the entirc Constitution. In that event, some aspects of Puerto Rico's constitution
  and laws might be preempted by the Constitution pursuant to the Supremacy Clause, U.S. Const.
  art. VI, cl. 2. Similarly, the admission of Puerto Rico as a State might extend to Puerto Rico
  some federal statutes that may be deemed not to apply to Puerto Rico at present because:hey are
  written to apply only in the several States. If so, then under the Supremacy Clause those statutes
                                                                                          -
  would also preempt aspects of Puerto Rican law with which they conflict (although it.should    be
  noted that Congress currently has power to preempt laws of Puerto Rico).


  2.      Independence

           The Independence proposal contains certain provisions regarding citizenship. Specifically,
  it states:

          The residents of Puerto Ilico shall owe allegiance to, and shall have the citizenship
          and nationality of, the Republic of Puerto Rico. Having been born in Puerto Rico
          or having relatives with statutory United States citizenship by birth shall no longer
          be grounds for United States citizenship; except for those persons who already had
          the United States citizenship, who shall have the statutory right to keep that
          citizenship for the rest of their lives, by right or by choice, as provided by the laws
          of the Congress of the United States.

  This proposal could be read as hiving two possible meanings: it could mean that persons already
  holding United States citizenship based on their birth in Puerto Rico or on the birth of their
  relatives have a right to ihat citizenship and that Congress must legislate in a way that makes
  provision for that right; or, it could mean that Congress has discretion to decide whether persons
  who have United States citizenship by virtue of their birth in Puerto Rico (or by virtue of having
  United States citizen relatives) will retain that citizenship once Puerto Rico becomes
  inde~endent.~   At least the second reading raises the question whether statutory United States
  citizens residing in Puerto Rico at the time of independence would have a constitutionally



          3
             We do not read the proposal to affect existing scaturcy provisic;,; regerding U.S. citizenship for persons
  born outside the United Slates to a U S. ciLizen parent or parents. See 8 U.S.C. 85 1401, i409,
Case No. 1:21-cv-03043-GPG-STV Document 69-3 filed 09/19/22 USDC Colorado pg 34
                                    of 68




   protected right to retain that citizenship shotlld Congress seek to terminatc it.'

            Although the proposal speaks of a "statutory right" to retain c i t i z e n ~ h ithere
                                                                                              ~ , ~ is at least
   an argument that individuals possessing United States citizenship would have a constilutional
   righ; to retaii~that citizenship, even if they continue to reside in Puerto Rico after independence.
   See Afroyirn v. Rusk, 387 1J.S. 253, 257 (1967) (rejecting the position that Congress has a
   "general power . . t o take away an American citizen's citizenship without his assent"). On the
   other hand, there is also case law dating from the early republic supporting the proposition that
   nationality follows sovereignty. See American Insurance Co. v. Canter, 26 U.S. (1 Pet.) 5 11,542
   (1828) (Marshdl, C.J.) (upon the cession of a territory the relations of its inhabitants "with their
   former sovereign are dissolved, and new relations are created between them, and the government
   which has acquired their territory. The same Act which transfers their country, transfers the
   allegiance of those who remain in it."); Boyd v. Nebraska ex rel. Thqyer, 143 U.S. 135, 162
   (1892) ("Manifestly the nationality of the inhabitants of territory acquired by . . . cession becomes
   that of the government under whose dominion they pass, subject to the right of election on their
   part to retain their former nationality by removal, or otherwise, as may be provided.");'~nited
   States ex rel. Schwarzkopf v. Uhl, 137 F.2d 898, 902 (2d Cir. 1943) (describing Canter as
   recognizing a "generally accepted principle of international law" that "[ilf the inhabitants [of a
   newly independent nation] remain within the territory [of the new nation] their allegiance is
   trar,sferred to the new sovereign."). See also Restatenienl(7'hird) of The Law of Foreign
   Relations 9 208 (1987) (observing that "[nlormally, the transfer of territory from one state to
   another res~ltsin a corresponding change in nationality for the inhabitants of that territory" aild
   that, in some bases of territory transfer, inhabitants can choose k w e e n retaining their former
   nationality and acquiring that of the new state). In view ofthe tension between Afroyim and cases
   such as Canter, it is unclear whether the Independence proposal's possible provision for
   congressional revocation of United States citizenship passes constitutional muster. See Treanor
   Testimony at 19 (reserving the constitutional issue of whether, upon independence, it would be
   permissible to terminate non-consensually the United States citizenship of residents of Puerto




              If such persons do have z constitutionally protected right t o retain their United States
   citizenship even as they acquire Puerto Rican citizenship, then Puerto Ricar. independence could
   result in a significant number of people acquiring dual citizenship. While this letter does not
   address the policy implications of such dual citizenship, we do not think it would run afoul of any
   constitutional stricture.

                It is Ihe Department's position that the source of the citizenship of those born in Pueno Rjco is not the
   Fourieenlh Amendment, but federal statute, specifically 8 U.S.C. 5 1402 (1994). See Sbtement of William M.
   Treanor, Deputy Assistant Anorney General, Office of Legal Connsel, Before h e House Comm. on Resources,
   106th Cong. 18 (Oct. 4,2000) ("Treanor Tesrimony"); Fuerto Rico: Hearlngs on K R . 856 and S 472 Before the
   Senate Comm. on Energv and Natural Resources, 105th Cong. 148 (1998) (staiement of Randolph D. Moss,
   Acting Assisunt Attorney General, OfIice of Legal Counsel, U.S. Deparlrnent of Justice). Tha: point is separate,
   hcweier, f r ~ mthe question wheL5er iAe C~nsrir:tion protects that citizenship or~ceil is statutorily conferred, and,
   if so, to the same extent as it protects "Fourteenth Amendment citizenship."
Case No. 1:21-cv-03043-GPG-STV Document 69-3 filed 09/19/22 USDC Colorado pg 35
                                    of 68




  Rico).

          The Independence proposal also provides that "Puerto Rico and the United States shall
  develop cooperation treaties, including economic and programmatic assistance for a reasonable
  period, free commerce and transit, and military force status." Viewing this language as part of a
  ballot option for the people of Puerto Rico, we understand it as a possible proposal to be made by
  Puerto Rico to Congress. We do not, therefore, read the use of the word "shall" to impose on the
  United States any obligation to enter into certain treaties with an independent Puerto Rico.
  Moreover, if the proposal did purport to impose such an obligation, we would construe its
  language as precatory, not binding, in order to preserve the sovereign prerogatives of the United
  States. We discuss this point in greater detail infra at 7-9.


  3.       New Commonwealth7

          The New Commonwealth proposal describes Puerto Rico as "an autonomous political
  body, that is neither colonial nor territorial, in permanent union with the United States under a
  covenant that cannot be invalidated or altered unilaterally." Our analysis of this proposal is based
  on two general premises, which we will outline before proceeding to address specific aspects of
  the proposal.

          The first premise is that the Constitution recognizes only a limited number of options for
  governance of an area. Puerto Rico could constitutionally become a sovereign Nation, or it could
  remain subject to United States sovereignty. It can do the latter in only two ways: it can be
  admitted into the Union as a State, U.S. Const, art. TV, § 3, cl. 1, or it can remain subject to the
  authority of Congress under the Territory Clause, U.S. Const, art. IV, § 3, cl. 2. See National
  Bank v. County of Yankton, 101 U.S. 129, 133 (1879) ("All territory within the jurisdiction of the
  United States not included in any State must necessarily be governed by or under the authority of
  Congress"). The terms of the Constitution do not contemplate an option other than sovereign
  independence, statehood, or territorial status.

          Although Puerto Rico currently possesses significant autonomy and powers of self-
  government in local matters pursuant to the Puerto Rican Federal Relations Act, Pub. L. No. 81-
  600, 64 Stat. 3 19 (1950) (codified at 48 U.S.C §§ 731b-731e (1994)) ("Public Law 600"), that
  statute did not take Puerto Rico outside the ambit of the Territory Clause. In Harris v. Rosario,


                It should be noted that in 1991 the Department of Justice did not treat this question as unsettled. See
  Thomburgh Testimony at 206-07 (suggesting that should Puerto Rico become independent, its residents "should be
  required to elect between retaining United States citizenship (and ultimately taking up residence within the United
  States .. . ) , " and citizenship in the new republic of Puerto Rico.).

             Our comments on the New Commonwealth proposal arc based in part on, and are intended to be
  consistent with, the October 4, 2000 testimony of Deputy Assistant Attorney General William M. Treanor before
  the House Committee on Resources. See Treanor Testimony, supra at n.5

                                                           5
Case No. 1:21-cv-03043-GPG-STV Document 69-3 filed 09/19/22 USDC Colorado pg 36
                                    of 68




   4 4 6 iJ.S. 6 5 1 (1980) (per curiam), for example, the Court sustained a !eve1 of assistance for
   Puerto Rico under the Aid to Families with Dependent Chi!dren program l o w e r t h m that which
   States received, and explained that "Congress, which is empowered under t h e Territory Clause o f
   t h e Constitution to 'make all needfi~lRules and Regulations respecting t h e Territory. . . belonging
   to the United States,' may treat Puerto Rico differently from States so long a s there is a rational
   basis for its actions." Id at 651-52 (internal citation omitted). See also Califano v. Torres, 435
   U.S. 1 , 3 n.4 (1978) (per curiam) ("Congress has t h e power to treat P u e r t o Rico differently, and
   . . every federal program does not have to b e extended t o it."). T h e Department of Justice has
   l o n g taken the s a m e view,' and the weight o f appellate case law provides further support for it.
   See, e.g., Mercado v. Commomvealth ojPuerfoRico, 2 1 4 F.3d 34, 44 (1 st Cir. 2000) (''Mnder
   the Territorial Clause, Congress may legislate for P u e r t o Rico differently than for the states.");
   Davila-Perez v. LockheedMartin Corp., 202 F.3d 4 6 4 , 4 6 8 (1st Cir. 2000) (affirming that Fuerto
   Rico "is still subject t o t h e plenary powers o f c o n g r e s s under the territorial clause."); Uiiited
   States v. Sanchez, 992 F.2d 1143, 1152-53 ( I l t h Ci.1993) ("'Congress continues to be the
   ultimate source of p o w e r [over Puerto Rico] pursuant to the Territory Clause o f t h e
   Constitution."') (quoting United States v. Andino, 83 1 F.2d 1164, 1 176 (1 s t Cir. 1987)
   (Tonuella, J., concurring), cert. denied, 486 U.S. 1034 (1988)), cert. denied, 510 U.S. 11 10
   (1994).9




            8
               This positinn has been expressed in briefs filed in federal court by past Solicitors Geiieral. See, e g.,
   Jurisdictional Statement of the United Swies at 10-1I, Harris v. Rosario, 446 U.S. 65 1 (1980) (No. 79-1294). It
   has also b e n taken in memoranda and opinions issued by the Ofice of Legal Counsel. See, e.g., Memoranda for
   Liida Cinciona, Director, Office of Attorney Personnel Management, from Richard L. Shzrin, Deputy Assislant
   Anomey General, Office of Legal Counsel, Re. Interpretation of the Term "Terrilov" in the Deparlment of               .
   JusticeAppropriolronsAct (July 31. 1997); Memorandum for Lawrencc E. Walsh, Deputy Attorney General, from
   Paul A. Sweeney, Acting Assistant Atiorne! General, Office of'legal Counsel, Re: H R . 5926, 86IhCong.. I" Sess.,
   a bill "Toprovide foramendn~cntsto the conipnct bemeen the people oft'uerlo Rico and the L'nited States" (June
   5, 1959). In a 1963 opinion, the Ofice of Legal Counsel treated the legal conspquences of Public Law 600 as an
   open questi~narid dld cot resolve :I. See .Me>norcndu:r Re: Pgwer 3f the Ui;iled Stcles to Conclu3e ~!,irh    the
   Comn~onweolfhoJPuerto Rico a Compact Which Couid Be Modz$edOnl~ by Mutual Consent (July 23,1963).

               We acknowledge, howevcr, that !he First Circuit has not always spoken with a single voice on this
   question. See, e.g., United S!ates v Andino, 831 F.2d 1164 (1st Cir. 1987) (prevailing opinion), cert. denied, 486
   U.S. 1034 (1988)); UnztedSIates v. Quinones, 758 F.2d 40,42 (1st Cir. 1985) ("[ljn 1952, Puertn Rico ceased
   being a temtory of the United States subject to the p!enary powers of Congress as provided in the Federal
   Constitution."); Cordova & Sir~ronpietriIns Agency I~ic.v. Chase ManhatIan Bank N.A., 649 F.2d 36, 41 (1st Cir.
   1981) (Breyer, J.) (stating that follorving thcpassage o f h b l i c Law 600, "Puerto Kico's status changed from Lha~of
   a mere lerrilory to the unique slatus of Commoniveallh."); Figueroa v. People ofPuerto Rico, 232 F.2d 615,620
   (1st Cir. 1956) (Magrudrr, J.) (maintaining that to say that Public Law 600 was "just another Organic Act" for
   Puerto Rico would be to say lhat Congress had perpetrated a "monumental hoax" on Ule Puerto Riwn pmple).
   Nohrithslanding these inconsistencies. we believe the more recent First Circuit and other appellate decisions
   correctly slate lhe law and properly recognize that the Supremc Court's decision ill Horris is controllmg.
             We also acknowledge that the Federal Circuit's opinion inRoirlero v. United Slotes, 38 F.3d 1204 (Fed.
   Cir. 1994), found that, for purposes of 5 U.S.C. 4 55 17, Puerto Rico is n6; a "St3te." "!erritory," or "possession."
   We read that opinion as addressing questions regarding the terms of that particular statute alnne.
Case No. 1:21-cv-03043-GPG-STV Document 69-3 filed 09/19/22 USDC Colorado pg 37
                                    of 68




           The second premise is that, as a matter of domestic constitutional iaw, the United States
  cannot irrevocably surrender an esseiltial attribute of its sovereignty See Clr~itedStatesv. Winr~or
  Csrp., 518 U.S. 839, 885 (1996) (The United States "may not contract away 'an essential
  attribute of its sovereignty."') (quoting UnitedStates Trust Co. v. New Jersey, 43 1 U.S. 1, 23
  (1977)); Burnet v. Brooks, 288 U.S. 378, 396 (1933) ("As a nation with all the attributes of
  sovereig~ty,the United States is vested with all the powers ofgovcmment necessary t o maintain
  an effective control of international relations."). This premise is reflected in the rule that, in
  general, one Congress cannot irrevocably bind subsequent Congresses. See Marbuy v. Madison,
  5 U.S. (1 Cranch) 137, 177 (1803) (Marshall, C.J.) (noting that legislative acts are "alterable
  when the legislature shall please to alter [them]."); see also Fletcher v. Peck, 10 U.S.(6 Cranch)
  87, 135 (1810) (Marshall, C.J.) (recognizing the general rule that "one legislature is competent to
  repeal any act which a former legislature was competent to pass; and that one legislature cannot
  abridge the powers of a succeeding legislature," while holding that vested rights are protected
  against subsequent congressional enactments). Moreover, as the Supreme Court has recognized,
  treaties and other covenants to which the United States is party stand, for constitutional purposes,
  on the samefooting as federal legislation. See Breardv. Greene, 5 2 3 U.S. 371,376 (1'998) (per
  curiam) ("We have held 'that an Act of Congress . . . is on a full parity with a treaty, and that
  when a statute which is subsequent in time is inconsistent with a treaty, the statute to the extent of
  conflict renders the treaty null."') (quoting Reid v. Cover!, 354 U.S. 1, 18 (1 957) (plurAi!y
  opinion)). Thus, to the extent a covenant to which the United States is party stands on no
  stronger footing than an Act of Congress, it is, for purposes of federal constitutional law, subject
  to unilateral alteration or revocation by subsequent Acts of Congress. As the Court explained in
  Whimey v. Roberrson, 124 U.S. 190, 194 (1 888):

         When the stipulations [of a treaty] are not self-executing they can only be enforced
         pursuant to legislation to carry them into effect, and such legislation is as much
         subject to modification and repeal by Congress as legislation upon any other
         subject. Ifthe treaty contains stipulations which are self-executing, that is, require
         no legislation to make thcm operative, to that extent they have the force and effect
         of a legislative enactment. Congress may rnoditjr such provisions, so far as they
         bind the United States, or supersede tnem altogether.

          This second premise applies to the exercise of presidential powers as well as to the
  exercise of congressional powers. Thus, a compact could not constitutionally limit the President's
  power to terminate treaties by requiring that he not exercise that power in the context of that
  compact without first obtaining the consent of the other signatories to the compact. Cj: United
  States v. Curtiss-Wright Export Corp., 299 U.S. 304, 320 (1936) (President has "plenary and
  exclusive power . . . as the sole organ of the federal government in the field of international
  relations"); Goldwuter v Carter, 617 F.2d 697, 703-09 (D.C. Cir.) (en banc), rev'don olher
  grounds, 444 U.S. 996 (1979) (finding that the President has constitutional authority to terminate
  a treaty); Goldwafer,441 U.S. at 1007 (Brennan, J., dissenting) (President's power to recognize
  the People's Republic of China entailed power to abrogate existing defense treaty with T-iwan!.
Case No. 1:21-cv-03043-GPG-STV Document 69-3 filed 09/19/22 USDC Colorado pg 38
                                    of 68




          With these two premises established, we turn now to analyzing the New Con~monwealth
  proposal. The threshold point to consider is what type o i status the proposal contemplates for
  Puerto Rico. Parts of :he New Commor~wealthproposal appear t o contemplate Puerto Rico's
  becoming an independent Nation," while others contemplate Puerto Rico's remaining subject to
  United States sovereignty to scme degree." To the extent that the proposal would thereby create
  for Puerto Rico a hybrid status, it runs afoul of the tirst premise discussed above. The proposal
  must be assessed against the constitutionally permissible status categories that exist, and the
  precise nature ofthe constitutional issues raised by the proposal turns in part on whether it is
  understood to recognize Puerto Rico as a sovereign nation or to maintain United States
  sovereignty over Puerto Rico.

          First, regardless of whether the New Commonwealth proposal contemplates full Puerto
  Rican independence or continued United States sovereignty over Puerto Rico, the proposal's
  mutual consent provisions are constitutionally unenforceable. Article X of the proposal specifies
  that the New Commonwealth will be implemented pursuant to an "agreement between the people
  of Puerto Rico and the government of the United States," and provides that the agreement will
  have the force of a "bilateral covenant . . based on mutual consent, that cannot be unilaterally
                                                 ~




  renounced or altered."I2 If the proposal is read to maintain United States sovereignty over Puerto
  Rico, then, since the "enhanced" Commonwealth it contemplates would not be a State, it would
  necessarily remain subject to ccngressional power under the Territory Clause. It follows, then,
  that Congress could later unilaterally alter t'ne terms of the covenant between the United States
  and Puerto Rico. See Disfricl of Columbia v. John R. niorn~sonCo., 346 U.S. 100, 106 (1953)
  (explaining that delegaticns of power from one Congress to the government of a territory are
  generally subject to revision, alteration, or revocation by a later Congress); see also Thornburgh
  Testimony at 194 (stating that proposed legislation conferring on Puerto Rico "sovereignty, like a
  State" and making that status irrevocable absent mutual consent was "totally inconsistent with the


           10
             See,eg..Preamble (referring to P ~ ~ e r Rico
                                                      r u a a "n-.tion," and describing the "natural right to self
  government" and "free will" of the people of Pucrto Rico as "ultimate sources of their political power"); Articlc
  V@) (referring to Puerlo Rico's authority over international rnaners),
           11
               See,e.g.,Preamble (describing Puerto Rico as being "in permanent union with the United States");
  Article I1 (prwiding for continued United States citizenship for persons born in Puerto Rico); Arlicle VIIl
  (providing for federal court jurisdiction over matters arising from "provisions of the Constitution of the United
  Staces and of the Federal !aws that apply to Pueno Rico consistent with this Covenant and not in violation [of] the
  laws of the Constitution of Puerlo Rico"); Anicle XI11 (providingthat the Resident Cornmissioner of Pueno Rico
  shall be "considered a Member of the U S House of Representatives" for certain purposes).
           12
              This mutual consent requirement appears in a number of places throughout the proposal. The
  Preamble states that Puerto Rico shall remain "in permanent union with the United States under a covenant that
  cannot be invalidated or altered unilateraily." Article 11(A) provides that "lpleople born in Puerto Rico will
  continue to be citizens of the United States by bier and specifies that this mle "will not be u~laterally
  revokable"). See olso ACicle XlIl(e) fprchibiting unilater~l;Iferati3r. of the covenant try the Uni~edStates by
  pruviding h a t "[alny change lo the terms of thiscovenant will have to be approved by the people of Pueno Rico in
  a special vote conducted consistent with its democratic processes and institutions.").
Case No. 1:21-cv-03043-GPG-STV Document 69-3 filed 09/19/22 USDC Colorado pg 39
                                    of 68




  Constitution ) .

           If Puerto Rico is to become an independent nation under the New Commonwealth
  proposal, then the relationship between the United States and Puerto Rico would necessarily be
  subject to subsequent action by Congress or the President, even without Puerto Rico's consent.
  As a general matter, a treaty cannot, for purposes of domestic constitutional law, irrevocably bind
  the United States. See supra at 7-8 In particular, because the power to make and unmake
  treaties is "inherently inseparable from the conception" of national sovereignty, Curtiss-Wright
  Export Corp., 299 U.S. at 318, it can not be contracted away. Thus, if Puerto Rico were to
  become independent, the New Commonwealth proposal's mutual consent requirements would be
  constitutionally unenforceable against the United States.14

          The New Commonwealth proposal also contains certain provisions regarding the retention
  of United States citizenship. Specifically, it provides that "[p]eople bom in Puerto Rico will
  continue to be citizens of the United States by birth and this citizenship will continue to be
  protected by the Constitution of the United States and by this Covenant and will not be
  unilaterally revokable."



                Under the approach set forth in Fletcher v. Peck, 10 U.S. (6 Cranch) 87 (1810), a different result
  would be warranted if the covenant called for in the New Commonwealth proposal had the effect of vesting rights
  in Puerto Rico's status as a commonwealth or in an element of that status, such as the mutual consent requirement.
  It is true that in 1963, the Office of Legal Counsel concluded that a mutual consent provision would be
  constitutional because Congress could vest rights in political status. See Memorandum Re: Power of the United
  States to Conclude with the Commonwealth of Puerto Rico a Compact which Could be Modified Only by Mutual
  Consent (July 23 1963). But the Justice Department altered its position on that question during the administration
  of President Bush, see Thomburgh Testimony at 194, and the Office of Legal Counsel now adheres to that
  position. See TreanorTestimony at 15-16; Memorandum for the Special Representative for Guam from Teresa
  Roseborough Deputy Assistant Attorney General Office of Legal Counsel Re: Mutual Consent Provisions in the
  Guam Commonwealth Legislation (July 28 1994)
             Two independent grounds support our current position that rights may not be vested in political status.
  First, after the issuance of the Department's 1963 opinion, the Supreme Court concluded that the Fifth
  Amendment's guarantee of due process applies only to persons and not to States. See South Carolina v.
  Katzenbach, 383 U.S. 301, 323-24 (1966). While Katzenbach was concerned with a State, its rationale suggests
  that a governmental body, including a territory such as Puerto Rico, could not assert rights under the Due Process
  Clause. Second, the modem Supreme Court case law concerning vested rights is limited in scope. While the
  Court has recognized that economic rights are protected under the Due Process Clause,                  Lynch v. United
  States,292 U.S. 571 (1934), the case law does not support the view (hat there would be Fifth Amendment vested
  rights in a political status for a governmental body that is not itself provided for in the Constitution. Cf Bowen v.
  Public Agencies Opposed to Social Security Entrapment, 477 U.S. 41, 55 (1986) ("[T]he contractual right at issue
  in this case bears little, if any, resemblance to rights held to constitute 'property' within the meaning of the Fifth
  Amendment..          The provision simply cannot be viewed as conferring any sort of 'vested right' in the fact of
  precedent concerning the effect of Congress' reserved power on agreements entered into under a statute containing
  the language of reservation").

             It is a separate question whether, or to what extent, the New Commonwealth proposal's mutual concent
  requirements would be binding under international law, and we do not address that question here.

                                                            9
Case No. 1:21-cv-03043-GPG-STV Document 69-3 filed 09/19/22 USDC Colorado pg 40
                                    of 68




           This provision could be read in two different ways. First, it could be read as concerned
   o d y with persons born in Puerto Rico after the New Commonwealth proposal goes into effect.
   llnderstood as limited t o these individuals, the proposal would confer United States citizenship on
   them unless and until Puerto Rico and the United States mutually agree to revoke it. Second, the
   text could be read as addressing the United States citizenship of all persons born in Puerto Rico,
   whether before or after the New Commonwealth proposal goes into effect." Under this second
   reading, the proposal would preserve these individuals' citizenship subject to revocation by the
   mutual consent of Puerto Rico and the United States.

           With respect to either reading, the mutual consent stipulation (i.e. that the grant of
   citizenship cannot be altered except by mutual consent) is, for the reasons discussed above, see
   supra at 8-9, constitutiond!y unenforceable. IS that stipulation is set aside, the provision then
   reads as a simple grant of citizenship to certain persons born in Puerto Rico - either those born in
   Puerto Rico after the New Commonwealth proposal goes into effect, or all those born in Puerto
   Rico before and after such time. We see no constitutional impediment with that provision,
   regardless of how broadly it is read. However, whether that provision is itself alterabie by a
   subsequent Act of Congress becomes a question of whether the United States citizenship of the
   persons covered by the provision is constitutionally protected. The answer t o that question
   depends on how the provision is read (that is, whether it is read as addressing those born in
   Puerto Rico in the future, or as covering those already born in Puerto Rico, or both),16 and may
   also depend on whether the New Commonwealth proposal in general is understood as creating an
   independent nation o r as maintaining United States sovereignty over Puerto Rico.

            We first address whether there would be any constitutional constraints on Congress's
   authority to provide that persons born in Puerto Rico in the future would not acquire United
   States citizenship by virtue of their birth in Puerto Rico. If Puerto k c o is to become an
   independent nation, thcn, while Congress may well have the power to provide (as the New
   Commonwealth proposal appears to contemplate) that persons born in Puerto Rico in the future
   shall acquire United States citizenship, we think Congress could also change that rule and provide
   that, in the hture, birth in Puerto Rico shall no longer be a basis for United States citizen.chip.17
   Lf, however, Pucrto RICOis to remain subjeci to United States sovereignty, then the answer is less
   clear. We are unaware of any case addressing the power of Congress t o withhold prospectively
   non-Fourteenth Amendment citizenship from those born in an area subject to united Statcs


            l5 One limitation lo the scope of the clause should be noted: presumably it is not intended lo apply to those
   residing outside of Puerio Rico at the lime the proposal look effect.

               Thc proposal might also be read lo refer to people born in Puerto Rico in the future, but before any
   future action by Congress to cease extending citizenship to persons born in Puerro Pico. Idrnufying Ihe precise
   constitutional considerations relevant to that reading of the pi~posalwould require further study.

               We do not, however, address whether Congress could also exclude residenu of Pur.to Kco lrvm otlfier
   statutory squrces of Uilited Sla:es ciLiZe2S!ip, such as being 3001 abrcad to a United Slates citizen parent or
   parents.
Case No. 1:21-cv-03043-GPG-STV Document 69-3 filed 09/19/22 USDC Colorado pg 41
                                    of 68




   sovcreigniy, w!ren persotis previousiy borr. in that area received stztutory citizenship by birthright,
   and we think it is unclear how a court would resolve that issue.

          Next, we consider whether the Ccnstitution would permit Congress to revoke the United
  States citizenship of persons who already have such citizenship because they were born in Puerto
  Rico. If the New Commonwealth proposal is understood to maintain United States sovereignty
  over Puerto Rico, then we think Congress could not revoke the United States citizenship of
  persons who already possess that citizenship by virtue of their birth in Puerto Rico. As the Court
  explained in Afroyim, Congress lacks a "general power . . . to take away an American citizen's
  citizenship without his assent." 387 U.S. at 2 5 7 While cot squarely faced with a case o f
  statutory citizenship, the Court in Afroyim did nct limit its decision to persons whose citizenship
  is based on the Fourteenth Amendment, and we think it should not be so confined." Accordingly,
  while we find no constitutional impediment in the New Commonwealth proposal's provision that
  those born in Puerto Rico will retain their citizenship in the future, w e do think that to the extent
  Puerto Rico is to remain subject t o IJnited States sovereignty, the provisionis redundant (or at
  best declaratory) of an underlying constitutional requirement that such citizenship not be revoked
  once it is granted. If, on the other hand, Puerto Rico were to become an independent nation
  under the New Commonwealth proposal, then, as we noted in our discussion of the Independence
  proposal's treatment of citizenship, see supra at 4-5, it is unclear whether Congress could revoke
  the U S . citizenship of persons elready holding such citizenship at the time of independence.
  There is an argument that the Constitution would ensure that those who possessed United States
  citizenship at the time of Puerto Rican independence must be able to retain that citizenship after
  independence, see Ajoyim, 387 U.S. at 257, but there is also case law supporting the proposition
  that nationaiity follows the flag. See Canter, 26 U.S. at 542. As noted, it is unclear how a court
  would resolve this issue.

          The New Commonwealth proposal also provides for the election of aResident
  Commissioner to "represent Puerto Iiico before the Government of the United States and who
  will be considered a Member of the U.S. House of Representatives for purposes of all legislative
  matters :hat have to do with Puerto Rico" The appl~cableprovision cf the Constitution - Article


           18
               A counter-argument might be made based on the Supreme Court's decision inRogers v. Belle;, 40 1
  U.S. 815 (1971), which upheld the loss of citizenship of an individual who was born in Ilaly and who acquired
  citizenship under a federal statute because one of his parents was an American citizen. The sutule required that
  person. ilainurlg citizenship on that basis meet certain requirements of residency in lhe United Slates prior lo their
  hventy-eighth birthday. The Rogers Court upheld the statute's provision for loss of citizenship for Ulose who failed
  to meet the residency requirement. While b e Rogers Court criticized .4jroyim's language concerning non-
  Fourteenth Amendment citizenship and based its own holding in part on the fact that Bellel's citizenship was not
  conferred pursuant lo the Fourteenth Amendment, see 401 U.S. at 835, Rogers is best understood as addressing the
  legitimacy of preemblished requirements for statutorily conferred citizenship (including conditions sobsequent
  sucli as the residency by age 28 requirement) when Congress grants citizenship lo those who would not otherwise
  receive it directly by operation of the Fourteenth Amendment. That issue -of the legitimacy of pre-esublished
  requirements - is nor relevant lo Congress's pxvers to divest citizenship cnc: it h s been unconditionally
  confe:errsd.Afioyim 1hus appears to be the most relevant precedent, and it supports the view that, sa long as Puerto
  Rico remains under United Stares sovereignty, cilizcnship h a 1 has been granted is constitutionally protecled.
Case No. 1:21-cv-03043-GPG-STV Document 69-3 filed 09/19/22 USDC Colorado pg 42
                                    of 68




   1, Section 2, Clause 1 - provides that the Housc cf Represel~tatives"shall be composed of
   Members chosen every second Year by the People ofthe several .Stotez." (emphasis added). On
   its face, that provision wo~lldseem to mean that the Resident Cammissioner from Puerto Kco
   could not be "considered a Member" of the House because, under the New Commonwealth
   proposal, Puerto Rico would not be a "State" While Congress has the ability to pennit
   participation by representatives of the territories, see Michelv. Anderson, 14 F.3d 623, 630-32
   @.C. Cir. 1994) (holding that the House of Representatives had the authority to permit a
   territorial delegate (including the Resident Commissioner from Puerto Rico) to vote in the
   House's committees, including the Committee of the Whole), there are constitutional limits to the
   participation that would be permitted

           The New Commonwealth proposal contains a number of other provisions that may raise
   particular constitutional concerns if the proposal contemplates Puerto Rico remaining subject to
   United States sovereignty. The proposal authorizes Puerto Rico to "enter into commercial and
   tax agreements, among others, with other countries," and to "enter into international agreements
   and belong to regiond and international organizations." The Constitution vests the foieign
   relations power of the United States, which ir~cludesthe power to enter into treaties, in the federal
   government. Curtiss-Wright Export Corp., 299 U.S. at 318. Specifically, Article I, Section 10,
   Clause I (the "Treaty Clause") prohibits States from entering into "any Treaty, Alliance, or
   Confederation." Under Article I, Section 10, Clause 3 (the "Compact Clause"), however, States
   are permitted, if authorized by Congress, to "enter into any Agreement or Compact . . . with a
   foreign Power." Read against the backdrop of these constitutional provisions, the New
   Commonwealth proposai raises several issues.

            First, it is unclear whether either the Treaty Clause or the Compact Clause applies to
   Puerto Rico, since both clauses refer only to "State[s]." What little case law there is on this
   question is not in agreement. Conzpnre Vennble v. Thornburgh, 766 F. Supp. 1012, 1013 (D.
   Kan. 1991) (stating in dicta that "the compact clause addresses agreements between the states,
   territories and the District of Columbia."), with Mora v. Torres, 113 F . Supp. 309, 3 15 @ . P . R )
   (concluding that "Puerto Rico is not a State, and the compact clause, as such, is not applicable to
   it."), afl'd, 206 F.2d 377 (1st Cir. 1953). If the two clauses do apply to Puerto Kco, then
   presumably the Compact Clause's probision for congressional authorization to enter into
   "Agreernent[s] or Compact[s]" applies to Puerto Rico. Second, even if Congress may consent to
   Puerto Rico's entry into "Agreement[s] or Compact[s]," it is not clear that theKcomniercialand
   tax agreements" and "international agreementsand . . . regional and international orgailizations"
   referred to in the New Commonwealth proposal would all constitute "Agreement[s] or
   Compact[s]" to which Congress may give its consent As the Supreme Court has notcd, the
   constitutional distinction be~ween"Agreement[s] [and] Compact[s]," on the one hand, and
   "Treat[ies], Alliance[s], [and] Confederation[s]," on the other, is not easily discerned. See US.
   SfeelCorp v. MulfisfafeTau Comm'n, 434 U.S. 452, 461-62 (1978) (noting that "the Framers
   used the words 'treaty,' 'compact,' and 'agreement' as terms of art, for which no explanation was
Case No. 1:21-cv-03043-GPG-STV Document 69-3 filed 09/19/22 USDC Colorado pg 43
                                    of 68




  required and with which we a r e ~ n f a m i l i a r . " ) . ' ~Scme "commercial and t a x zgreements" u.c;~;ld be
  likely t o qualify as "Agreernent[s] or Compact[s]" under Article I, Section 10, Clause 3 of the
  Constitution. If so, then Congress may be able t o authorize Puerto Rico t o enter intc such
  aereements. T h e status o f t h e "international agreements a n d . . . iegional and internationzl
  orgar~zations"referred t o in t h e N e w Commonwealth proposal, however, is less clear. At least
  some o f the agreements embraced in this phrase might constitute "Treat[ies], Alliance[s], or
  Confederation[sIn under Article I, Section 10, Clause 1. If so, then P u e r t o R ~ c omay not
  constitutionally enter into them, with or without congressional consent. Third, even assuming
  Congress may authorize P u e r t o Rico t o enter into at least some o f the types of international
  agreements referenced in t h e New Commonwealth proposal, it is unclear whether Congress could,
  as apparently contemplated by t h e proposal, give Puerto Rico prospective blanket authorization to
  conclude such agreements. N t h o u g h it is o u r view that, under the Compact Clause, Congress
  m a y consent in advance t 3 a State's entering into certain international agreements," there would
  still be a question whether advance consent over such a broad and unspecified range of
  agreements as is contemplated here would be an impermissible u s e of Congress's power.21          . .




            l 9 On one account (which traces back to Justice Story) of the distinction between the Treaty and Compact
  Clauses, the Treaty Clause's categorical prohibition refers to agreements of a political character such as one Nation
  wouia make with another, while the conditional prohibition of the Compact Clause on agreements wih foreign
  countries refers to arrangemen& regarding the private rights of sovereigns, such as adjusting boundaries, making
  territorial acquisitions in mother State, or harmonizing the internal regulations of bordering States. See Louisiono
  v. Texas, 176 U.S. 1, 16-18 (1900) (outlining Story's theory); Virginia v. Tennessee, 148 U.S. 503,519-20 (1 893)
  (same). Agreements between Puerto Rico and foreign countries regarding taxation and commerc? seem onlikely to
  concern private sovereign rights; ofortiori, international agreements and membenhip in international or regional
  organizations would seem to be political in character. On this theory, therefore, the Treaty Clause, if applicable to
  Puerto Rico, could well bar oll folms of international agreements mentioned in the bill.

           *' See Letter for the Horn Caspar W. Weinberger, Director, Ofice of Management & Budge4 from Ralph
  E. Erickson, Deputy Auorney General (Sept. 19, 1972); Memorandum for Nicholas den. Katzenbach, Deputy
  Attorney General, from Norben A. Schiei, Assistant Attorney General, Oftice cf Legal Counsel, Re: Drojr biil "To
  axlhorize :hr conslructisn c f cer!oin irternotionol bridges, "/heproposedlnternoliond Bridge A d of 1963 (July
  18, 1963). The case law accords with that conclusion. See Cuyler v. A d a m , 449 U.S. 433.441 (1981) (advance
  congressional consent to c e m n interstaie compacts relating to crime prevention and law enforcement); Seallle
  Mosler Builders Ass 5r v. Pocijic Norlhwesl Power ond Conservolion Council, 786 F.2d 1359, 1363 (9th Cir. 1986)
  (even if advance congressional consent were "unusual," it would not be unconstihltional), cerf. denied, 479 U.S.
  1059 (1987); see generally Virginia v. Tennessee, 148 U.S. at 52 1 ("The Constitution does no! stzte when the
  consent of congress shall be given, whether it shall precede or may follow the compact made. . . . In many cases
  the consent will usually precede the compact or agreement.").
           21
              We have found little authority addressing the scope of permissible congressional delegation under the
  Compact Clause, and we note that potential "delegation" problems might arise whether or not the Compact Clause
  were thought to apply to Puerto Rico. Compare Milk Indusfry Found. v. Glickman, 132 F.3d 1467, 1473-78 @.C.
  Cir. 1998) (analyzing issue arising under Compact Clause of delegation of authority to Executive Department).
  with Philippine Islonds-PostolService, 29 Op. Att'y Gen. 380 (1912) (analyzing without reference to Compact
  Clause whether Congress could delegate to government of Plulippine Islands authority 10 negatiate ar.d en:;r into
  internatinnal pslal conventions). In e i t h ~ case,
                                                 r     the breadth cf the delegation mntemp!ated here might raise
  constitutional concerns.
Case No. 1:21-cv-03043-GPG-STV Document 69-3 filed 09/19/22 USDC Colorado pg 44
                                    of 68




           Finally, if Puerto Rico remains subject to United States sovereignty, the provision that
   Puerto Rico would "retain[] all the powers that have not been delegated to the United States"
   rests on a constitutionally flawed premise. This provision appears to attempt to create for Puerto
   Rico an analogue to the Tenth Amendment. But the legislative powers of a non-State region
   under the sovereignty of the United States are entirely vested in Congress. Because territories are
   created by the Nation, as a matter of constitutional law they can not delegate power to the
   Nation. As Chief Justice Marshall explained in Canter, "[i]n legislating for [the territories],
   Congress exercises the combined powers of the general, and of a state government." 26 U.S. at
   546. And while Congress may delegate some of its powers over a territory to the territory itself,
   such delegation is, as discussed supra at 7-8, always subject to Congress's own plenary power to
   revise, alter, or revoke that authority. See Thompson, 346 U.S. at 106, 109; United States v.
   Sharpnack, 355 U.S. 286,296 (1958).22

           We hope this information is helpful to you. Please do not hesitate to contact me if I can
   be of further assistance.

                                                        Sincerely,




                                                                   SignatureofRobertRabenRobertRabenAssistant Attorney G


   cc:      The Honorable Jeff Bingaman
            Ranking Minority Member




            22
               Other provisions of the Commonwealth proposal may present constitutional concerns. Article VIII
   makes jurisdiction of federal courts subject to the provisions of the Constitution of Puerto Rico, and article XIII
   concerns the creation of a mechanism by which application of United States laws to Puerto Rico will be subject to
   the laws of Puerto Rico.

                                                            14
Case No. 1:21-cv-03043-GPG-STV Document 69-3 filed 09/19/22 USDC Colorado pg 45
                                    of 68




                         APPENDIX
                             F
Case No. 1:21-cv-03043-GPG-STV Document 69-3 filed 09/19/22 USDC Colorado pg 46
                                    of 68



       MUTUAL CONSENT PROVISIONS IN THE GUAM COMMONWEALTH
                           LEGISLATION

          Sections of the Guam Commonwealth Bill requiring the mutual consent of the Government of the
  United States and the Government of Guam raise serious constitutional questions and are legally
  unenforceable.


                                                                  July 28, 1994

               MEMORANDUM OPINION FOR THE SPECIAL REPRESENTATIVE
                          FOR GUAM COMMONWEALTH


          The Guam Commonwealth Bill, H.R. 1521, 103d Cong., 1st Sess. (1993) contains two
  sections requiring the mutual consent of the Government of the United States and the
  Government of Guam. Section 103 provides that the Commonwealth Act could be amended
  only with mutual consent of the two governments. Section 202 provides that no Federal laws,
  rules, and regulations passed after the enactment of the Commonwealth Act would apply to
  Guam without the mutual consent of the two governments. The Representatives of Guam insist
  that these two sections are crucial for the autonomy and economy of Guam. The former views of
  this Office on the validity or efficacy of mutual consent requirements included in legislation
  governing the relationship between the federal government and non-state areas, i.e. areas under
  the sovereignty of the United States that are not States,1 have not been consistent.2 We therefore
  have carefully reexamined this issue. Our conclusion is that these clauses raise serious
  constitutional issues and are legally unenforceable.3


            1
              Territories that have developed from the stage of a classical territory to that of a Commonwealth with a
  constitution of their own adoption and an elective governor, resent being called Territories and claim that that legal
  term and its implications are not applicable to them. We therefore shall refer to all Territories and Commonwealths
  as non-state areas under the sovereignty of the United States or briefly as non-state areas.

           2
             To our knowledge the first consideration of the validity of mutual consent clauses occurred in 1959 in
  connection with proposals to amend the Puerto Rico Federal Relations Act. At that time the Department took the
  position that the answer to this question was doubtful but that such clauses should not be opposed on the ground that
  they go beyond the constitutional power of Congress. In 1963 the Department of Justice opined that such clauses
  were legally effective because Congress could create vested rights in the status of a territory that could not be
  revoked unilaterally. The Department adhered to this position in 1973 in connection with then pending
  Micronesians status negotiations in a memorandum approved by then Assistant Attorney General Rehnquist. On the
  basis of this advice, a mutual consent clause was inserted in Section 105 of the Covenant with the Northern Mariana
  Islands. The Department continued to support the validity of mutual consent clauses in connection with the First
  1989 Task Force Report on the Guam Commonwealth Bill. The Department revisited this issue in the early 1990’s
  in connection with the Puerto Rico Status Referendum Bill in light of Bowen v. Agencies Opposed to Soc. Sec.
  Entrapment, 477 U.S. 41, 55 (1986), and concluded that there could not be an enforceable vested right in a political
  status; hence that mutual consent clauses were ineffective because they would not bind a subsequent Congress. We
  took the same position in the Second Guam Task Force Report issued during the last days of the Bush
  Administration in January 1993.

           3
             Mutual consent clauses are not a novel phenomenon; indeed they antedate the Constitution. Section 14 of
  the Northwest Ordinance contained six “articles of compact, between the original States and the people and States in
  the said territory, and [shall] forever remain unalterable, unless by common consent.” These articles were
  incorporated either expressly or by reference into many early territorial organic acts. Clinton v. Englebrecht, 80 U.S.
  (13 Wall.) 434, 442 (1872). The copious litigation under these “unalterable articles” focussed largely on the
  question whether the territories’ obligations under them were superseded by the Constitution, or when the territory
Case No. 1:21-cv-03043-GPG-STV Document 69-3 filed 09/19/22 USDC Colorado pg 47
                                    of 68



                                       Opinions of the Office of Legal Counsel


          In our view, it is important that the text of the Guam Commonwealth Act not create any
  illusory expectations that might mislead the electorate of Guam about the consequences of the
  legislation. We must therefore oppose the inclusion in the Commonwealth Act of any
  provisions, such as mutual consent clauses, that are legally unenforceable, unless their
  unenforceability (or precatory nature) is clearly stated in the document itself.

                                                             I.

                                The Power of Congress to Govern the Non-State
                                Areas under the Sovereignty of the United States
                                  is Plenary within Constitutional Limitations

         All territory under the sovereignty of the United States falls into two groups: the States
  and the areas that are not States. The latter, whether called territories, possessions, or
  commonwealths, are governed by and under the authority of Congress. As to those areas,
  Congress exercises the combined powers of the federal and of a state government. These basic
  considerations were set out in the leading case of National Bank v. County of Yankton, 101 U.S.
  129, 132-33 (1880). There the Court held:

                   It is certainly now too late to doubt the power of Congress to govern the
           Territories. There have been some differences of opinion as to the particular
           clause of the Constitution from which the power is derived, but that it exists has
           always been conceded.4

                                                           ***

                    All territory within the jurisdiction of the United States not included in
           any State must necessarily be governed by or under the authority of Congress.
           The Territories are but political subdivisions of the outlying dominion of the
           United States. Their relation to the general government is much the same as that
           which counties bear to the respective States, and Congress may legislate for them
           as a State does for its municipal organizations. The organic law of a Territory
           takes the place of a constitution as the fundamental law of the local government.
           It is obligatory on and binds the territorial authorities; but Congress is supreme,
           and for the purposes of this department of its governmental authority has all the

  became a State, as the result of the equal footing doctrine. We have, however, not found any cases dealing with the
  question whether the Congress had the power to modify any duty imposed on the United States by those articles.

            4
              Some derived that power from the authority of the United States to acquire territory, others from the mere
  fact of sovereignty, others from the Territory Clause of the Constitution of the United States (Art. IV, Sec. 3, Cl. 2)
  pursuant to which Congress has “Power to dispose of and make all needful Rules and Regulations respecting the
  Territory or other Property belonging to the United States”. See e.g. American Insurance Co. v. Canter, 26 U.S.
  (1 Pet.) 511, 542 (1828); Mormon Church v. United States, 136 U.S. 1, 42-44 (1890); Downes v. Bidwell, 182 U.S.
  244, 290 (1901).
           At present, the Territory Clause of the Constitution is generally considered to be the source of the power of
  Congress to govern the non-state areas. Hooven & Allison Co. v. Evatt, 324 U.S. 652, 673-674 (1945); Examining
  Board v. Flores de Otero, 426 U.S. 572, 586 (1976); Harris v. Rosario, 446 U.S. 651 (1980); see also Wabol v.
  Villacrusis, 958 F.2d 1450, 1459 (9th Cir. 1992), cert. denied 506 U.S. 1027 (1992). (Footnote supplied.)

                                                           -2­
Case No. 1:21-cv-03043-GPG-STV Document 69-3 filed 09/19/22 USDC Colorado pg 48
                                    of 68



                    Mutual Consent Provisions in the Guam Commonwealth Legislation

         powers of the people of the United States, except such as have been expressly or
         by implication reserved in the prohibitions of the Constitution.

         Yankton was anticipated in Chief Justice Marshall’s seminal opinion in American
  Insurance Co. v. Canter, 26 U.S. (1 Pet.) 511, 542-43, 546 (1828). The Chief Justice explained:

                 In the mean time [i.e. the interval between acquisition and statehood],
         Florida continues to be a territory of the United States; governed by virtue of that
         clause in the Constitution, which empowers Congress “to make all needful rules
         and regulations, respecting the territory, or other property belonging to the United
         States.”

                 Perhaps the power of governing a territory belonging to the United States,
         which has not, by becoming a state, acquired the means of self-government, may
         result necessarily from the facts, that it is not within the jurisdiction of any
         particular state, and is within the power and jurisdiction of the United States.

                                                  ***

         In legislating for them [the Territories], Congress exercises the combined powers
         of the general, and of a state government.

  Id. at 542-43, 546.

          The power of Congress to govern the non-state areas is plenary like every other
  legislative power of Congress but it is nevertheless subject to the applicable provisions of the
  Constitution. As Chief Justice Marshall stated in Gibbons v. Ogden, 22 U.S. (9 Wheat.) 1, 196
  (1824), with respect to the Commerce Power:

         This power [the Commerce Power], like all others vested in Congress is complete
         in itself, may be exercised to its utmost extent, and acknowledges no limitations,
         other than are prescribed in the constitution. (Emphasis added.)

         This limitation on the plenary legislative power of Congress is self-evident. It
  necessarily follows from the supremacy of the Constitution. See e.g., Hodel v. Virginia Surface
  Mining and Reclamation Assoc., 452 U.S. 264, 276 (1981). That the power of Congress under
  the Territory Clause is subject to constitutional limitations has been recognized in County of
  Yankton, 101 U.S. at 133; Downes v. Bidwell, 182 U.S. 244, 290-91 (1901); District of Columbia
  v. Thompson Co., 346 U.S. 100, 109 (1953).

           Finally, the power of Congress over the non-state areas persists “so long as they remain
  in a territorial condition.” Shively v. Bowlby, 152 U.S. 1, 48 (1894). See also Hooven & Allison
  Co. v. Evatt, 324 U.S. 652, 675 (1945) (recognizing that during the intermediary period between
  the establishment of the Commonwealth of the Philippine Islands and the final withdrawal of
  United States sovereignty from those islands “Congress retains plenary power over the territorial
  government”).

          The plenary Congressional authority over a non-state area thus lasts as long as the area
  retains that status. It terminates when the area loses that status either by virtue of its admission


                                                  -3­
Case No. 1:21-cv-03043-GPG-STV Document 69-3 filed 09/19/22 USDC Colorado pg 49
                                    of 68



                                       Opinions of the Office of Legal Counsel

  as a State, or by the termination of the sovereignty of the United States over the area by the grant
  of independence, or by its surrender to the sovereignty of another country.

                                                            II.

                             The Revocable Nature of Congressional Legislation
                               Relating to the Government of Non-State Areas

           While Congress has the power to govern the non-state areas it need not exercise that
  power itself. Congress can delegate to the inhabitants of non-state areas full powers of self-
  government and an autonomy similar to that of States and has done so since the beginning of the
  Republic. Such delegation, however, must be “consistent with the supremacy and supervision of
  National authority”. Clinton v. Englebrecht, 80 U.S. (13 Wall.) 434, 441 (1872); Puerto Rico v.
  Shell Co., 302 U.S. 253, 260, 261-62 (1937). The requirement that the delegation of
  governmental authority to the non-state areas be subject to federal supremacy and federal
  supervision means that such delegation is necessarily subject to the right of Congress to revise,
  alter, or revoke the authority granted. District of Columbia v. Thompson Co., 346 U.S. 100, 106,
  109 (1953).5 See also United States v. Sharpnack, 355 U.S. 286, 296 (1958), Harris v. Boreham,
  233 F.2d 110, 113 (3rd Cir. 1956), Firemen’s Insurance Co. v. Washington, 483 F.2d 1323, 1327
  (D.C. Cir. 1973). The power of Congress to delegate governmental powers to non-state areas
  thus is contingent on the retention by Congress of its power to revise, alter, and revoke that
  legislation.6 Congress therefore cannot subject the amendment or repeal of such legislation to
  the consent of the non-state area.

          This consideration also disposes of the argument that the power of Congress under the
  Territory Clause to give up its sovereignty over a non-state area includes the power to make a
  partial disposition of that authority, hence that Congress could give up its power to amend or
  repeal statutes relating to the governance of non-state areas. But, as shown above, the retention
  of the power to amend or repeal legislation delegating governmental powers to a non-state area
  is an integral element of the delegation power. Congress therefore has no authority to enact
  legislation under the Territory Clause that would limit the unfettered exercise of its power to
  amend or repeal.

          The same result flows from the consideration that all non-state areas are subject to the
  authority of Congress, which, as shown above, is plenary. This basic rule does not permit the


           5
             Thompson dealt with the District of Columbia’s government which is provided for by Art. I, Sec. 8, Cl. 17
  of the Constitution, rather than with the non-state areas as to whom the Congressional power is derived from the
  Territory Clause. The Court, however, held that in this area the rules relating to the Congressional power to govern
  the District of Columbia and the non-state areas are identical. Indeed, the Court relied on cases dealing with non-
  state areas, e.g., Hornbuckle v. Toombs, 85 U.S. (18 Wall.) 648, 655 (1874), and Christianson v. King County, 239
  U.S. 365 (1915), where it held that Congress can delegate its legislative authority under Art. I, Sec. 8, Cl. 17 of the
  Constitution to the District, subject to the power of Congress at any time to revise, alter, or revoke that authority.

           6
             Congress has exercised this power with respect to the District of Columbia. The Act of February 21,
  1871, 16 Stat. 419, gave the District of Columbia virtual territorial status, with a governor appointed by the
  President, a legislative assembly that included an elected house of delegates, and a delegate in Congress. The 1871
  Act was repealed by the Act of June 20, 1874, 18 Stat. 116, which abrogated among others the provisions for the
  legislative assembly and a delegate in Congress, and established a government by a Commission appointed by the
  President.

                                                           -4­
Case No. 1:21-cv-03043-GPG-STV Document 69-3 filed 09/19/22 USDC Colorado pg 50
                                    of 68



                   Mutual Consent Provisions in the Guam Commonwealth Legislation

  creation of non-state areas that are only partially subject to Congressional authority. The plenary
  power of Congress over a non-state area persists as long as the area remains in that condition and
  terminates only when the area becomes a State or ceases to be under United States sovereignty.
  There is no intermediary status as far as the Congressional power is concerned.

         The two mutual consent clauses contained in the proposed Commonwealth Act therefore
  are subject to Congressional modification and repeal.

                                                  III.

                  The Rule that Legislation Delegating Governmental Powers to a
                 Non-State Area Must be Subject to Amendment and Repeal is but a
                 Manifestation of the General Rule that one Congress Cannot Bind
                   a Subsequent Congress, Except where it Creates Vested Rights
                 Enforceable under the Due Process Clause of the Fifth Amendment

          The rule that Congress cannot surrender its power to amend or repeal legislation relating
  to the government of non-state areas is but a specific application of the maxim that one Congress
  cannot bind a subsequent Congress and the case law developed under it.

          The rationale underlying that principle is the consideration that if one Congress could
  prevent the subsequent amendment or repeal of legislation enacted by it, such legislation would
  be frozen permanently and would acquire virtually constitutional status. Justice Brennan
  expressed this thought in his dissenting opinion in United States Trust Co. v. New Jersey, 431
  U.S. 1, 45 (1977), a case involving the Impairment of the Obligation of Contracts Clause of the
  Constitution (Art. I, Sec 10, Cl. 1):

                 One of the fundamental premises of our popular democracy is that each
         generation of representatives can and will remain responsive to the needs and
         desires of those whom they represent. Crucial to this end is the assurance that
         new legislators will not automatically be bound by the policies and undertakings
         of earlier days . . . . The Framers fully recognized that nothing would so
         jeopardize the legitimacy of a system of government that relies upon the ebbs and
         flows of politics to “clean out the rascals” than the possibility that those same
         rascals might perpetuate their policies simply by locking them into binding
         contracts.

          Nonetheless, the maxim that one Congress cannot bind a future Congress, like every legal
  rule, has its limits. As early as 1810, Chief Justice Marshall explained in Fletcher v. Peck, 10
  U.S. (6 Cranch) 87, 135 (1810):

                The principle asserted is that one legislature is competent to repeal any act
         which a former legislature was competent to pass; and that one legislature cannot
         abridge the powers of a succeeding legislature.

                 The correctness of this principle, so far as respects general legislation, can
         never be controverted. But, if an act be done under a law, a succeeding
         legislature cannot undo it. The past cannot be recalled by the most absolute
         power. Conveyances have been made, those conveyances have vested legal


                                                 -5­
Case No. 1:21-cv-03043-GPG-STV Document 69-3 filed 09/19/22 USDC Colorado pg 51
                                    of 68



                                 Opinions of the Office of Legal Counsel

         estates, and if those estates may be seized by the sovereign authority, still, that
         they originally vested is a fact, and cannot cease to be a fact.

                When, then, a law is in its nature a contract, when absolute rights have
         vested under that contract, a repeal of the law cannot devest [sic] those rights.

          The powers of one legislature to repeal or amend the acts of the preceding one are limited
  in the case of States by the Obligation of Contracts Clause (Art. I, Sec. 10, Cl. 1) of the
  Constitution and the Due Process Clause of the Fourteenth Amendment, and in the case of
  Congressional legislation by the Due Process Clause of the Fifth Amendment. This principle
  was recognized in the Sinking-Fund Cases, 98 U.S. 700, 718-19 (1879):

                 The United States cannot any more than a State interfere with private
         rights, except for legitimate governmental purposes. They are not included within
         the constitutional prohibition which prevents States from passing laws impairing
         the obligation of contracts, but equally with the States they are prohibited from
         depriving persons or corporations of property without due process of law. They
         cannot legislate back to themselves, without making compensation, the lands they
         have given this corporation to aid in the construction of its railroad. Neither can
         they by legislation compel the corporation to discharge its obligations in respect
         to the subsidy bonds otherwise than according to the terms of the contract already
         made in that connection. The United States are as much bound by their contracts
         as are individuals. (emphasis supplied.)

  See also Bowen v. Agencies Opposed to Soc. Sec. Entrapment, 477 U.S. 41, 54-56 (1986).

                                                  IV.

                     The Due Process Clause Does Not Preclude Congress from
                      Amending or Repealing the Two Mutual Consent Clauses

         The question therefore is whether the Due Process Clause of the Fifth Amendment
  precludes a subsequent Congress from repealing legislation for the governance of non-state areas
  enacted by an earlier Congress under the Territory Clause. This question must be answered in
  the negative.

         The Due Process Clause of the Fifth Amendment provides:

         No person shall . . . be deprived of life, liberty, or property without due process of
         law. (emphasis supplied.)

          This Clause is inapplicable to the repeal or amendment of the two mutual consent clauses
  here involved for two reasons. First, a non-state area is not a “person” within the meaning of the
  Fifth Amendment, and, second, such repeal or amendment would not deprive the non-state area
  of a property right within the meaning of the Fifth Amendment.

                                                   A.

       A non-state area is not a person in the meaning of the Due Process Clause of the Fifth
  Amendment.

                                                  -6­
Case No. 1:21-cv-03043-GPG-STV Document 69-3 filed 09/19/22 USDC Colorado pg 52
                                    of 68



                    Mutual Consent Provisions in the Guam Commonwealth Legislation

          In South Carolina v. Katzenbach, 383 U.S. 301, 323-24 (1966), the Court held that a
  State is not a person within the meaning of the Due Process Clause of the Fifth Amendment. See
  also Alabama v. EPA, 871 F.2d 1548, 1554 (11th Cir.), cert. denied, 493 U.S. 991 (1989) (“The
  State of Alabama is not included among the entities protected by the due process clause of the
  fifth amendment”); State of Oklahoma v. Federal Energy Regulatory Comm., 494 F.Supp. 636,
  661 (W.D. Okl. 1980), aff'd, 661 F.2d 832 (10th Cir. 1981), cert. denied, sub. nom. Texas v.
  Federal Energy Regulatory Comm., 457 U.S. 1105 (1982).

          Similarly it has been held that creatures or instrumentalities of a State, such as cities or
  water improvement districts, are not persons within the meaning of the Due Process Clause of
  the Fifth Amendment. City of Sault Ste. Marie, Mich. v. Andrus, 532 F. Supp. 157, 167 (D.D.C.
  1980); El Paso, County Water Improvement District v. IBWC/US, 701 F. Supp. 121, 123-24
  (W.D. Tex 1988).

          The non-state areas, concededly, are not States or instrumentalities of States, and we have
  not found any case holding directly that they are not persons within the meaning of the Due
  Process Clause of the Fifth Amendment. They are, however, governmental bodies, and the
  rationale of South Carolina v. Katzenbach, 383 U.S. at 301, appears to be that such bodies are
  not protected by the Due Process Clause of the Fifth Amendment. Moreover, it is well
  established that the political subdivisions of a State are not considered persons protected as
  against the State by the provisions of the Fourteenth Amendment. See, e.g., Newark v. New
  Jersey, 262 U.S. 192, 196 (1923); Williams v. Mayor of Baltimore, 289 U.S. 36, 40 (1933);
  South Macomb Disposal Authority v. Township of Washington, 790 F.2d 500, 505, 507 (6th Cir.
  1986), and the authorities there cited. The relationship of the non-state areas to the Federal
  Government has been analogized to that of a city or county to a State. As stated, supra, the
  Court held in National Bank v. County of Yankton, 101 U.S. 129, 133 (1880):

         The territories are but political subdivisions of the outlying dominion of the
         United States. Their relation to the general government is much the same as that
         which counties bear to the respective States . . . .

          More recently, the Court explained that a non-state area is entirely the creation of
  Congress and compared the relationship between the Nation and a non-state area to that between
  a State and a city. United States v. Wheeler, 435 U.S. 313, 321 (1978). It follows that, since
  States are not persons within the meaning of the Fifth Amendment and since the political
  subdivisions of States are not persons within the meaning of the Fourteenth Amendment, the
  non-state areas are not persons within the meaning of the Due Process Clause of the Fifth
  Amendment.

                                                   B.

          Legislation relating to the governance of non-state areas does not create any rights or
  status protected by the Due Process Clause against repeal or amendment by subsequent
  legislation.

         As explained earlier, a subsequent Congress cannot amend or repeal earlier legislation if
  such repeal or amendment would violate the Due Process Clause of the Fifth Amendment, i.e., if
  such amending or repealing legislation would deprive a person of property without due process
  of law. It has been shown in the preceding part of this memorandum, that a non-state area is not
  a person within the meaning of the Due Process Clause. Here it will be shown that mutual

                                                  -7­
Case No. 1:21-cv-03043-GPG-STV Document 69-3 filed 09/19/22 USDC Colorado pg 53
                                    of 68



                                        Opinions of the Office of Legal Counsel

  consent provisions in legislation, such as the ones envisaged in the Guam Commonwealth Act,
  would not create property rights within the meaning of that Clause.

          Legislation concerning the governance of a non-state area, whether called organic act,
  federal relations act, or commonwealth act, that does not contain a mutual consent clause is
  clearly subject to amendment or repeal by subsequent legislation. A non-state area does not
  acquire a vested interest in a particular stage of self government that subsequent legislation could
  not diminish or abrogate. While such legislation has not been frequent, it has occurred in
  connection with the District of Columbia. See District of Columbia v. Thompson Co., 346 U.S.
  100, 104-05 (1953); supra n.6. Hence, in the absence of a mutual consent clause, legislation
  concerning the government of a non-state area is subject to amendment or repeal by subsequent
  legislation.

          This leads to the question whether the addition of a mutual consent clause, i.e. of a
  provision that the legislation shall not be modified or repealed without the consent of the
  Government of the United States and the Government of the non-state area, has the effect of
  creating in the non-state areas a specific status amounting to a property right within the meaning
  of the Due Process Clause. It is our conclusion that this question must be answered in the
  negative because (1) sovereign governmental powers cannot be contracted away, and (2) because
  a specific political relationship does not constitute “property” within the meaning of the Fifth
  Amendment.

          1. As a body politic the Government of the United States has the general capacity to
  enter into contracts. United States v. Tingey, 30 U.S. (5 Pet.) 115, 128 (1831). This power,
  however, is generally limited to those types of contracts in which private persons or corporations
  can engage. By contrast sovereign “governmental powers cannot be contracted away,” North
  American Coml. Co. v. United States, 171 U.S. 110, 137 (1898). More recently the Supreme
  Court held in connection with legislation arising under the Contract Clause (Art. I, Sec. 10, Cl.
  1) of the Constitution that “the Contract Clause does not require a State to adhere to a contract
  that surrenders an essential attribute of its sovereignty.” United States Trust Co. v. New Jersey,
  431 U.S. 1, 23 (1977).7 In a similar context Mr. Justice Holmes stated:

                One whose rights, such as they are, are subject to state restriction, cannot
          remove them from the power of the State by making a contract about them.
          Hudson Water Co. v. McCarter, 209 U.S. 349, 357 (1908).8
          Agreements or compacts to the effect that the Congress may not amend legislation
  relating to the government of a non-state area without the consent of the latter, or that federal
  legislation shall not apply to Guam unless consented to by the Government of Guam would
  unquestionably purport to surrender essential powers of the federal government. They are


          7
             Cases arising under the Contract Clause holding that a State cannot contract away a sovereign power are
  also applicable to the contracts made by the federal government because the Contract Clause imposes more rigorous
  restrictions on the States than the Fifth Amendment imposes on the federal government. Pension Benefit Guaranty
  Corp. v. R.A. Gray Co., 467 U.S. 717, 733 (1984); National Railroad Passenger Corp. v. A.T. & S.F. Ry.., 470 U.S.
  451, 472-73 n.25 (1985). Hence, when state legislation does not violate the Contract Clause, analogous federal
  legislation is all the more permissible under the Due Process Clause of the Fifth Amendment.

          8
              Cited with approval with respect to federal legislation in Norman v. B. & O.R., 294 U.S. 240, 308 (1935).

                                                           -8­
Case No. 1:21-cv-03043-GPG-STV Document 69-3 filed 09/19/22 USDC Colorado pg 54
                                    of 68



                           Mutual Consent Provisions in the Guam Commonwealth Legislation

  therefore not binding on the United States and cannot confer a property interest protected by the
  Fifth Amendment.9
          More generally, the Supreme Court held in Bowen v. Agencies Opposed to Soc. Sec.
  Entrapment, 477 U.S. 41 (1986), that the contractual property rights protected by the Due
  Process Clause of the Fifth Amendment are the traditional private contractual rights, such as
  those arising from bonds or insurance contracts, but not arrangements that are part of a
  regulatory program such as a State’s privilege to withdraw its participation in the Social Security
  system with respect to its employees. Specifically, the Court stated:

                   But the “contractual right” at issue in this case bears little, if any,
           resemblance to rights held to constitute “property” within the meaning of the Fifth
           Amendment. The termination provision in the Agreement exactly tracked the
           language of the statute, conferring no right on the State beyond that contained in §
           418 itself. The provision constituted neither a debt of the United States, see Perry
           v. United States, supra, nor an obligation of the United States to provide benefits
           under a contract for which the obligee paid a monetary premium, see Lynch v.
           United States, supra. The termination clause was not unique to this Agreement;
           nor was it a term over which the State had any bargaining power or for which the
           State provided independent consideration. Rather, the provision simply was part
           of a regulatory program over which Congress retained authority to amend in the
           exercise of its power to provide for the general welfare.

  Id. At 55. Agreements that the Guam Commonwealth Act may not be amended without the
  consent of the Government of Guam, or that future federal statutes and regulations shall not
  apply to Guam without the consent of the Government of Guam clearly do not constitute
  conventional private contracts; they are elements of a regulatory system.

          In the past the Department of Justice at times has concluded that a non-State area may
  have a vested interest in a specific status which would be immune from unilaterial Congressional
  amendment or repeal.10 We cannot continue to adhere to that position in view of the rulings of
  the Supreme Court that legislation concerning the governance of a non-state area is necessarily
  subject to Congressional amendment and repeal; that governmental bodies are not persons within
  the meaning of the Due Process Clause; that governmental powers cannot be contracted away,
  and especially the exposition in the recent Bowen case that the property rights protected by the




           9
             Cases such as Lynch v. United States, 292 U.S. 571 (1934), and Perry v. United States, 294 U.S. 330
  (1935), are not contrary to this conclusion. Both cases involved commercial agreements (Lynch: insurance; Perry:
  Government bonds) In Lynch the Court held that Congress could not amend the contract merely to save money
  “unless, indeed the action falls within the federal police police power or some other paramount power.” 292 U.S. at
  579. Perry involved bonds issued by the United States under the authority of Art. I, Sec. 8, Cl. 2 of the Constitution,
  to borrow money on the credit of the United States. The Court held that Congress did not have the power to destroy
  the credit of the United States or to render it illusory by unilaterally abrogating one of the pivotal terms of the bonds
  to save money. While the Court held that the United States had broken the agreement, it nevertheless held that
  plaintiff could not recover because, as the result of regulations validly issued by the United States, he had not
  suffered any monetary damages.

           10
                Cf. n.2.

                                                           -9­
Case No. 1:21-cv-03043-GPG-STV Document 69-3 filed 09/19/22 USDC Colorado pg 55
                                    of 68



                                       Opinions of the Office of Legal Counsel

  Due Process Clause are those arising from private law or commercial contracts and not those
  arising from governmental relations.11
          Sections 103 and 202 therefore do not create vested property rights protected by the Due
  Process Clause of the Fifth Amendment.12 Congress thus retains the power to amend the Guam
  Commonwealth Act unilaterally or to provide that its legislation shall apply to Guam without the
  consent of the government of the Commonwealth. The inclusion of such provisions, therefore,
  in the Commonwealth Act would be misleading. Honesty and fair dealing forbid the inclusion of
  such illusory and deceptive provisions in the Guam Commonwealth Act.13

         Finally, the Department of Justice has indicated that it would honor past commitments
  with respect to the mutual consent issue, such as Section 105 of the Covenant with the Northern
  Mariana Islands, in spite of its reevaluation of this problem. The question whether the 1989
  Task Force proposal to amend Section 103 of the Guam Commonwealth Act so as to limit the
  mutual consent requirement to Sections 101, 103, 201, and 301 constitutes such prior
  commitment appears to have been rendered moot by the rejection of that proposal by the Guam
  Commission.




                                                       TERESA WYNN ROSEBOROUGH
                                                        Deputy Assistant Attorney General
                                                            Office of Legal Counsel




            11
               It is significant that the circumstances in which Congress can effectively agree not to repeal or amend
  legislation were discussed in the context of commercial contracts. Bowen, 477 U.S. at 52.

           12
             Bowen, it is true, dealt with legislation that expressly reserved the right of Congress to amend, while the
  proposed Guam Commonwealth Act would expressly preclude the right of Congress to amend without the consent of
  the Government of Guam. The underlying agreements, however, are not of a private contractual nature, and, hence,
  are not property within the meaning of the Due Process Clause. We cannot perceive how they can be converted into
  “property” by the addition of a provision that Congress foregoes the right of amendment.

           13
              The conclusion that Section 202 of the Guam Commonwealth Act (inapplicability of future federal
  legislation to Guam without the consent of Guam) would not bind a future Congress obviates the need to examine
  the constitutionality of Section 202. In Currin v. Wallace, 306 U.S. 1, 15-16 (1939), and United States v. Rock
  Royal Co-op. 307 U.S. 533, 577-78 (1939), the Court upheld legislation that made the effectiveness of regulations
  dependent on the approval of tobacco farmers or milk producers affected by them. The Court held that this approval
  was a legitimate condition for making the legislation applicable. Similarly, it could be argued that the approval of
  federal legislation by the Government of Guam is a legitimate condition for making that legislation applicable to
  Guam. Since, as stated above, a future Congress would not be bound by Section 202, we need not decide the
  question whether the requirement of approval by the Government of Guam for every future federal statute and
  regulation is excessive and inconsistent with the federal sovereignty over Guam.

                                                          -10­
Case No. 1:21-cv-03043-GPG-STV Document 69-3 filed 09/19/22 USDC Colorado pg 56
                                    of 68




                           APPENDIX
                               G
Case No. 1:21-cv-03043-GPG-STV Document 69-3 filed 09/19/22 USDC Colorado pg 57
                                    of 68




                            STATEMENT OF C. KEVIN MARSHALL
                          DEPUTY ASSISTANT ATTORNEY GENERAL
                                OFFICE OF LEGAL COUNSEL
                               U.S. DEPARTMENT OF JUSTICE

                        BEFORE THE COMMITTEE ON RESOURCES,
                       UNITED STATES HOUSE OF REPRESENTATIVES

              HEARING ON THE REPORT BY THE PRESIDENT’S TASK FORCE
                            ON PUERTO RICO’S STATUS
                                 APRIL 27, 2006

          Thank you, Mr. Chairman and Ranking Member Rahall, for inviting me to discuss the
  work and report of the President’s Task Force on Puerto Rico’s Status. President Clinton
  established the Task Force in December 2000, and President Bush has continued it through
  amendments of President Clinton’s Executive Order. The Task Force consists of designees of
  each member of the President’s Cabinet, and the Deputy Assistant to the President and Director
  for Intergovernmental Affairs, Ruben Barrales. I am a Deputy Assistant Attorney General in the
  Justice Department’s Office of Legal Counsel. As the Attorney General’s designee on the Task
  Force, I serve as its Co-Chair, along with Mr. Barrales.

          The status of Puerto Rico, and the options regarding that status, have been issues for
  many years. In 1992, for example, President George H.W. Bush issued a Memorandum that
  recognized Puerto Rico’s popularly approved Commonwealth structure as “provid[ing] for self-
  government in respect of internal affairs and administration,” described Puerto Rico as “a
  territory,” and directed the Executive Branch to treat Puerto Rico as much as legally possible “as
  if it were a State.” He also called for periodically ascertaining “the will of its people regarding
  their political status” through referenda.

          President Clinton, in his order establishing the Task Force, made it the policy of the
  Executive Branch “to help answer the questions that the people of Puerto Rico have asked for
  years regarding the options for the islands’ future status and the process of realizing an option.”
  He charged the Task Force with seeking to implement that policy. We are required to “consider
  and develop positions on proposals, without preference among the options, for the
  Commonwealth’s future status.” Our recommendations are limited, however, to options “that
  are not incompatible with the Constitution and basic laws and policies of the United States.”

          On the same day that he issued his Executive Order, President Clinton also issued a
  Memorandum for the Heads of Executive Departments and Agencies regarding the Resolution of
  Puerto Rico’s status. That memorandum added that “Puerto Rico’s ultimate status has not been
  determined” and noted that the three major political parties in Puerto Rico were each “based on
  different visions” for that status. Although Puerto Rico held a plebiscite in 1998, none of the
  proposed status options received a majority. Indeed, “None of the Above” prevailed, because of
  objection to the ballot definition of the commonwealth option.

         Some in Puerto Rico have proposed a “New Commonwealth” status, under which Puerto
Case No. 1:21-cv-03043-GPG-STV Document 69-3 filed 09/19/22 USDC Colorado pg 58
                                    of 68




  Rico would become an autonomous, non-territorial, non-State entity in permanent union with the
  United States under a covenant that could not be altered without the “mutual consent” of Puerto
  Rico and the federal Government. In October 2000, a few months before President Clinton
  established the Task Force, this Committee held a hearing on a bill (H.R. 4751) incorporating a
  version of the “New Commonwealth” proposal. William Treanor, who held the same position in
  the Office of Legal Counsel that I now hold, testified that this proposal was not constitutional.

         Thus, the Task Force’s duties were to determine the constitutionally permissible options
  for Puerto Rico’s status and to provide recommendations for a process for realizing an option.
  We had no duty or authority to take sides among the permissible options.

          The Task Force considered all status options objectively, without prejudice. We also
  attempted to develop a process for realizing one of the options. We sought input from all
  interested parties. The members met with anyone who requested a meeting. I myself had
  several meetings with representatives of various positions, and also received and benefited from
  extensive written materials.

          The Task Force issued its report last December and concluded that there were three
  general options under the Constitution for Puerto Rico’s status: (1) continue its current status as
  a largely self-governing territory of the United States; (2) admit Puerto Rico as a State, on an
  equal footing with the existing 50 States; or (3) make Puerto Rico independent of the United
  States.

          As indicated in my discussion of the 1998 plebiscite and the origins of the Task Force,
  the primary question regarding options was whether the Constitution currently allows a
  “Commonwealth” status that could be altered only by “mutual consent,” such that Puerto Rico
  could block Congress from altering its status. Since 1991, the Justice Department has, under
  administrations of both parties, consistently taken the position that the Constitution does not
  allow such an arrangement. The Task Force report reiterates that position, noting that the Justice
  Department conducted a thorough review of the question in connection with the work of the
  Task Force. The report is of course not a legal brief. But it does outline the reasoning, and it
  includes as appendices two extended analyses by the Clinton Justice Department. The second of
  these, a January 2001 letter to the Senate Committee on Energy and Natural Resources, also was
  sent to this Committee on the same date. The report also cites additional materials such as Mr.
  Treanor’s testimony and the 1991 testimony of the Attorney General.

         The effect of this legal conclusion is that the “New Commonwealth” option, as we
  understand it, is not consistent with the Constitution. Any promises that the United States might
  make regarding Puerto Rico’s status as a commonwealth would not be binding. Puerto Rico
  would remain subject to Congress’s authority under the Constitution “to dispose of and make all
  needful Rules and Regulations respecting the Territory . . . belonging to the United States.”
  Puerto Rico receives a number of benefits from this status, such as favorable tax treatment. And
  Puerto Rico may remain in its current Commonwealth, or territorial, status indefinitely, but
  always subject to Congress’s ultimate authority to alter the terms of that status, as the

                                                   2
Case No. 1:21-cv-03043-GPG-STV Document 69-3 filed 09/19/22 USDC Colorado pg 59
                                    of 68




  Constitution provides that Congress may do with any U.S. territory.

          The other two options, which are explained in the report, merit only brief mention here.
  If Puerto Rico were admitted as a State, it would be fully subject to the U.S. Constitution,
  including the Tax Uniformity Clause. Puerto Rico’s favorable tax treatment would generally no
  longer be allowed. Puerto Rico also would be entitled to vote for presidential electors, Senators,
  and full voting Members of Congress. Puerto Rico’s population would determine the size of its
  congressional delegation.

          As for the third option of independence, there are several possible ways of structuring it,
  so long as it is made clear that Puerto Rico is no longer under United States sovereignty. When
  the United States made the Philippines independent in 1946, the two nations entered into a
  Treaty of General Relations. Congress might also provide for a closer relationship along the
  lines of the “freely associated states” of Micronesia, the Marshall Islands, and Palau.

           With regard to process, the Task Force focused on ascertaining the will of the people of
  Puerto Rico. In particular, we sought to ascertain that will in a way that, as the report puts it,
  “provides clear guidance for future action by Congress.” The keys to providing clear guidance
  are, first, to speak unambiguously about the options the Constitution allows and, second, to
  structure the process so that popular majorities are likely. The inconclusive results of the 1998
  plebiscite, as well as an earlier one in 1993, did not strike us as providing much guidance to
  Congress.

          We therefore have recommended a two-step process. The first step is simply to
  determine whether the people of Puerto Rico wish to remain as they are. We recommend that
  Congress provide for a federally sanctioned plebiscite in which the choice will be whether to
  continue territorial status. If the vote is to remain as a territory, then the second step, one
  suggested by the first President Bush’s 1992 memorandum, would be to have periodic plebiscites
  to inform Congress of any change in the will of the people. If the first vote is to change Puerto
  Rico’s status, then the second step would be for Congress to provide for another plebiscite in
  which the people would choose between statehood and independence, and then to begin a
  transition toward the selected option. Ultimate authority of course remains with Congress.

          Two points about this recommended process merit brief explanation. First, consistent
  with our presidential mandate, it does not seek to prejudice the outcome, even though it is
  structured to produce a clear outcome. At least once before, Puerto Ricans have voted by a
  majority to retain their current Commonwealth status. They may do so again. But it is critical to
  be clear about that status. Second, our recommended process does not preclude action by Puerto
  Rico itself to express its views to Congress. At the first step, we recommend that Congress
  provide for the plebiscite “to occur on a date certain.” We did not, of course, specify that date.
  But if Congress wished to ensure that some action occurred but not preclude the people of Puerto
  Rico from taking the initiative, it could allow a sufficient period for local action before that “date
  certain.” If such action occurred and produced a clear result, there might be no need to proceed
  with the federal plebiscite.

                                                    3
Case No. 1:21-cv-03043-GPG-STV Document 69-3 filed 09/19/22 USDC Colorado pg 60
                                    of 68




         The Task Force knows well the importance of the status question to the loyal citizens of
  Puerto Rico and to the nation as a whole. We appreciate the Committee’s commitment to this
  matter and the opportunity to share our views.




                                                 4
Case No. 1:21-cv-03043-GPG-STV Document 69-3 filed 09/19/22 USDC Colorado pg 61
                                    of 68




                           STATEMENT OF C. KEVIN MARSHALL
                         DEPUTY ASSISTANT ATTORNEY GENERAL
                               OFFICE OF LEGAL COUNSEL
                              U.S. DEPARTMENT OF JUSTICE

         BEFORE THE COMMITTEE ON ENERGY AND NATURAL RESOURCES
                         UNITED STATES SENATE

            HEARING ON THE REPORT BY THE PRESIDENT=S TASK FORCE
                         ON PUERTO RICO=S STATUS
                             NOVEMBER 15, 2006

          Thank you, Mr. Chairman and Ranking Member Bingaman, for inviting me to discuss the
  work and report of the President=s Task Force on Puerto Rico=s Status. President Clinton
  established the Task Force in December 2000, and President Bush has continued it through
  amendments of President Clinton=s Executive Order. The Task Force consists of designees of
  each member of the President=s Cabinet, and the Deputy Assistant to the President and Director
  for Intergovernmental Affairs, Ruben Barrales. I am a Deputy Assistant Attorney General in the
  Justice Department=s Office of Legal Counsel. As the Attorney General=s designee on the Task
  Force, I serve as its Co-Chair, along with Mr. Barrales.

          The status of Puerto Rico, and the options regarding that status, have been issues for
  many years. In 1992, for example, President George H.W. Bush issued a Memorandum that
  recognized Puerto Rico=s popularly approved Commonwealth structure as Aprovid[ing] for self-
  government in respect of internal affairs and administration,@ described Puerto Rico as Aa
  territory,@ and directed the Executive Branch to treat Puerto Rico as much as legally possible Aas
  if it were a State.@ He also called for periodically ascertaining Athe will of its people regarding
  their political status@ through referenda.

          President Clinton, in his order establishing the Task Force, made it the policy of the
  Executive Branch Ato help answer the questions that the people of Puerto Rico have asked for
  years regarding the options for the islands= future status and the process of realizing an option.@
  He charged the Task Force with seeking to implement that policy. We are required to Aconsider
  and develop positions on proposals, without preference among the options, for the
  Commonwealth=s future status.@ Our recommendations are limited, however, to options Athat are
  not incompatible with the Constitution and basic laws and policies of the United States.@

          On the same day that he issued his Executive Order, President Clinton also issued a
  Memorandum for the Heads of Executive Departments and Agencies regarding the Resolution of
  Puerto Rico=s status. That memorandum added that APuerto Rico=s ultimate status has not been
  determined@ and noted that the three major political parties in Puerto Rico were each Abased on
  different visions@ for that status. Although Puerto Rico held a plebiscite in 1998, none of the
  proposed status options received a majority. Indeed, ANone of the Above@ prevailed, because of
  objection to the ballot definition of the commonwealth option.

         Some in Puerto Rico have proposed a ANew Commonwealth@ status, under which Puerto
Case No. 1:21-cv-03043-GPG-STV Document 69-3 filed 09/19/22 USDC Colorado pg 62
                                    of 68




  Rico would become an autonomous, non-territorial, non-State entity in permanent union with the
  United States under a covenant that could not be altered without the Amutual consent@ of Puerto
  Rico and the federal Government. In October 2000, a few months before President Clinton
  established the Task Force, the House Committee on Resources held a hearing on a bill (H.R.
  4751) incorporating a version of the ANew Commonwealth@ proposal. William Treanor, who
  held the same position in the Office of Legal Counsel that I now hold, testified that this proposal
  was not constitutional.

         Thus, the Task Force=s duties were to determine the constitutionally permissible options
  for Puerto Rico=s status and to provide recommendations for a process for realizing an option.
  We had no duty or authority to take sides among the permissible options.

         The Task Force considered all status options, including the current status and the New
  Commonwealth option, objectively and without prejudice. We also attempted to develop a
  process for Congress to ascertain which of the constitutional options the people of Puerto Rico
  prefer. We sought input from all interested parties, including Governor Acevedo-Vilá. The
  members met with anyone who requested a meeting. I myself had several meetings with
  representatives of various positions, and also received and benefited from extensive written
  materials.

          The Task Force issued its report last December and concluded that there were three
  general options under the Constitution for Puerto Rico=s status: (1) continue Puerto Rico=s
  current status as a largely self-governing territory of the United States; (2) admit Puerto Rico as
  a State, on an equal footing with the existing 50 States; or (3) make Puerto Rico independent of
  the United States.

          As indicated in my discussion of the 1998 plebiscite and the origins of the Task Force,
  the primary question regarding options was whether the Constitution currently allows a
  ACommonwealth@ status that could be altered only by Amutual consent,@ such that Puerto Rico
  could block Congress from altering its status. Since 1991, the Justice Department has, under
  administrations of both parties, consistently taken the position that the Constitution does not
  allow such an arrangement. The Task Force report reiterates that position, noting that the Justice
  Department conducted a thorough review of the question in connection with the work of the
  Task Force. The report is of course not a legal brief. But it does outline the reasoning, and it
  includes as appendices two extended analyses by the Clinton Justice Department. The second of
  these is a January 2001 letter to this Committee, a copy of which was sent to the House
  Committee on Resources on the same date. The report also cites additional materials such as Mr.
  Treanor=s testimony and the 1991 testimony of the Attorney General.

         The effect of this legal conclusion is that the ANew Commonwealth@ option, as we
  understand it, is not consistent with the Constitution. Any promises that the United States might
  make regarding Puerto Rico=s status as a commonwealth would not be binding. Puerto Rico
  would remain subject to Congress=s authority under the Territory Clause of the Constitution Ato
  dispose of and make all needful Rules and Regulations respecting the Territory . . . belonging to

                                                   2
Case No. 1:21-cv-03043-GPG-STV Document 69-3 filed 09/19/22 USDC Colorado pg 63
                                    of 68




  the United States.@ Puerto Rico receives a number of benefits from this status, such as favorable
  tax treatment. And Puerto Rico may remain in its current Commonwealth, or territorial, status
  indefinitely, but always subject to Congress=s ultimate authority to alter the terms of that status,
  as the Constitution provides that Congress may do with any U.S. territory.

          The other two options, which are explained in the report, merit only brief mention here.
  If Puerto Rico were admitted as a State, it would be fully subject to the U.S. Constitution,
  including the Tax Uniformity Clause. Puerto Rico=s favorable tax treatment would generally no
  longer be allowed. Puerto Rico also would be entitled to vote for presidential electors, Senators,
  and full voting Members of Congress. Puerto Rico=s population would determine the size of its
  congressional delegation.

          As for the third option of independence, there are several possible ways of structuring it,
  so long as it is made clear that Puerto Rico is no longer under United States sovereignty. When
  the United States made the Philippines independent in 1946, the two nations entered into a
  Treaty of General Relations. Congress might also provide for a closer relationship along the
  lines of the Afreely associated states@ of Micronesia, the Marshall Islands, and Palau. The report
  explains, with a few qualifications, that, A[a]mong the constitutionally available options, freely
  associated status may come closest to providing for the relationship between Puerto Rico and the
  United States that advocates for >New Commonwealth= status appear to desire.@

           With regard to process, the Task Force focused on ascertaining the will of the people of
  Puerto Rico. In particular, we sought to ascertain that will in a way that, as the report puts it,
  Aprovides clear guidance for future action by Congress.@ The keys to providing clear guidance
  are, first, to speak unambiguously about the options the Constitution allows and, second, to
  structure the process so that popular majorities are likely. The inconclusive results of the 1998
  plebiscite, as well as an earlier one in 1993, did not strike us as providing clear guidance to
  Congress.

          We therefore have recommended a two-step process. The first step is simply to
  determine whether the people of Puerto Rico wish to remain as they are. We recommend that
  Congress provide for a federally sanctioned plebiscite in which the choice will be whether to
  continue territorial status. If the vote is to remain as a territory, then the second step, one
  suggested by the first President Bush=s 1992 memorandum, would be to have periodic plebiscites
  to inform Congress of any change in the will of the people. If the first vote is to change Puerto
  Rico=s status, then the second step would be for Congress to provide for another plebiscite in
  which the people would choose between statehood and independence, and then to begin a
  transition toward the selected option. Ultimate authority of course remains with Congress.

          Two points about this recommended process merit brief explanation. First, consistent
  with our presidential mandate, it does not seek to prejudice the outcome; it is structured to
  produce a clear outcome. At least once before, Puerto Ricans have voted by a majority to retain
  their current Commonwealth status. They may do so again. But it is critical to be clear about
  that status. Second, our recommended process does not preclude action by Puerto Rico itself to

                                                   3
Case No. 1:21-cv-03043-GPG-STV Document 69-3 filed 09/19/22 USDC Colorado pg 64
                                    of 68




  express its views to Congress. At the first step, we recommend that Congress provide for the
  plebiscite Ato occur on a date certain.@ We did not, of course, specify that date. But if Congress
  wished to ensure that some action occurred but not preclude the people of Puerto Rico from
  taking the initiative, it could allow a sufficient period for local action before that Adate certain.@
  If such action occurred and produced a clear result, there might be no need to proceed with the
  federal plebiscite.

         The Task Force knows well the importance of the status question to the loyal citizens of
  Puerto Rico and to the nation as a whole. We appreciate the Committee=s commitment to this
  matter and the opportunity to share our views.




                                                     4
Case No. 1:21-cv-03043-GPG-STV Document 69-3 filed 09/19/22 USDC Colorado pg 65
                                    of 68




                           STATEMENT OF C. KEVIN MARSHALL
                         DEPUTY ASSISTANT ATTORNEY GENERAL
                               OFFICE OF LEGAL COUNSEL
                              U.S. DEPARTMENT OF JUSTICE

                  BEFORE THE SUBCOMMITTEE ON INSULAR AFFAIRS
                    OF THE COMMITTEE ON NATURAL RESOURCES
                    UNITED STATES HOUSE OF REPRESENTATIVES

    HEARING ON H.R. 900, THE “PUERTO RICO DEMOCRACY ACT OF 2007,” AND
       H.R. 1230, THE “PUERTO RICO SELF DETERMINATION ACT OF 2007 ”
                                APRIL 25, 2007

         Thank you, Madame Chairman and Ranking Member Fortuno, for inviting the
  Administration to discuss pending legislation concerning the future political status of Puerto
  Rico. The work and report of the President’s Task Force on Puerto Rico’s Status have
  contributed to renewed attention to this question in the last few years, including a hearing in
  April 2006 before the full Committee, in which I participated. President Clinton established the
  Task Force in December 2000, and President Bush has continued it through amendments of
  President Clinton’s Executive Order. The Executive Order as amended provides for the Task
  Force to consist of designees of each member of the President’s Cabinet, and the Deputy
  Assistant to the President and Director for Intergovernmental Affairs. I am a Deputy Assistant
  Attorney General in the Justice Department’s Office of Legal Counsel. As the Attorney
  General’s designee on the Task Force, I have served as its Co-Chair. Today I appear because of
  that work but also as a representative of the Administration.

          The status of Puerto Rico, and the options regarding that status, have been issues for
  many years. In 1992, for example, President George H.W. Bush issued a Memorandum that
  recognized Puerto Rico’s popularly approved Commonwealth structure as “provid[ing] for self-
  government in respect of internal affairs and administration,” described Puerto Rico as “a
  territory,” and directed the Executive Branch to treat Puerto Rico as much as legally possible “as
  if it were a State.” He also called for periodically ascertaining “the will of its people regarding
  their political status” through referenda.

          President Clinton, in his order establishing the Task Force, made it the policy of the
  Executive Branch “to help answer the questions that the people of Puerto Rico have asked for
  years regarding the options for the islands’ future status and the process of realizing an option.”
  He charged the Task Force with seeking to implement that policy. The Task Force was required
  to “consider and develop positions on proposals, without preference among the options, for the
  Commonwealth’s future status.” Its recommendations are limited, however, to options “that are
  not incompatible with the Constitution and basic laws and policies of the United States.”

       On the same day that he issued his Executive Order, President Clinton also issued a
  Memorandum for the Heads of Executive Departments and Agencies regarding the Resolution of
Case No. 1:21-cv-03043-GPG-STV Document 69-3 filed 09/19/22 USDC Colorado pg 66
                                    of 68




  Puerto Rico’s status. That memorandum added that “Puerto Rico’s ultimate status has not been
  determined” and noted that the three major political parties in Puerto Rico were each “based on
  different visions” for that status. Although Puerto Rico held a plebiscite in 1998, none of the
  proposed status options received a majority. Indeed, “None of the Above” prevailed, because of
  objection to the ballot definition of the commonwealth option.

          Some in Puerto Rico have proposed a “New Commonwealth” status, under which Puerto
  Rico would become an autonomous, non-territorial, non-State entity in permanent union with the
  United States under a covenant that could not be altered without the “mutual consent” of Puerto
  Rico and the federal Government. In October 2000, a few months before President Clinton
  established the Task Force, the House Committee on Resources held a hearing on a bill (H.R.
  4751) incorporating a version of the “New Commonwealth” proposal. William Treanor, who
  held the same position in the Office of Legal Counsel that I now hold, testified that this proposal
  was not constitutional.

         Thus, the Task Force’s duties were to determine the constitutionally permissible options
  for Puerto Rico’s status and to provide recommendations for a process for realizing an option.
  We had no duty or authority to take sides among the permissible options.

         The Task Force considered all status options, including the current status and the New
  Commonwealth option, objectively and without prejudice. It also attempted to develop a process
  for Congress to ascertain which of the constitutional options the people of Puerto Rico prefer. It
  sought input from all interested parties, including Governor Acevedo-Vilá. The members met
  with anyone who requested a meeting. I myself had several meetings with representatives of
  various positions, and also received and benefited from extensive written materials.

          The Task Force issued its report in December 2005 and concluded that there were three
  general options under the Constitution for Puerto Rico’s status: (1) continue Puerto Rico’s
  current status as a largely self-governing territory of the United States; (2) admit Puerto Rico as
  a State, on an equal footing with the existing 50 States; or (3) make Puerto Rico independent of
  the United States.

          As indicated in my discussion of the 1998 plebiscite and the origins of the Task Force,
  the primary question regarding options was whether the Constitution currently allows a
  “Commonwealth” status that could be altered only by “mutual consent,” such that Puerto Rico
  could block Congress from altering its status. Since 1991, the Justice Department has, under
  administrations of both parties, consistently taken the position that the Constitution does not
  allow such an arrangement. The Task Force report reiterates that position, noting that the Justice
  Department conducted a thorough review of the question in connection with the work of the
  Task Force. The report is of course not a legal brief. But it does outline the reasoning, and it
  includes as appendices two extended analyses by the Clinton Justice Department. The second of
  these is a

                                                   2
Case No. 1:21-cv-03043-GPG-STV Document 69-3 filed 09/19/22 USDC Colorado pg 67
                                    of 68




  January 2001 letter to the Senate Committee on Energy and Natural Resources, a copy of which
  was sent to the House Committee on Resources on the same date. The report also cites
  additional materials such as Mr. Treanor’s testimony and the 1991 testimony of the Attorney
  General.

           The effect of this legal conclusion is that the “New Commonwealth” option, as the Task
  Force understood it, is not consistent with the Constitution. Any promises that the United States
  might make regarding Puerto Rico’s status as a commonwealth would not be binding. Puerto
  Rico would remain subject to Congress’s authority under the Territory Clause of the Constitution
  “to dispose of and make all needful Rules and Regulations respecting the Territory . . . belonging
  to the United States.” Puerto Rico receives a number of benefits from this status, such as
  favorable tax treatment. And Puerto Rico may remain in its current Commonwealth, or
  territorial, status indefinitely, but always subject to Congress’s ultimate authority to alter the
  terms of that status, as the Constitution provides that Congress may do with any U.S. territory.

          The other two options, which are explained in the report, merit only brief mention here.
  If Puerto Rico were admitted as a State, it would be fully subject to the U.S. Constitution,
  including the Tax Uniformity Clause. Puerto Rico’s favorable tax treatment would generally no
  longer be allowed. Puerto Rico also would be entitled to vote for presidential electors, Senators,
  and full voting Members of Congress. Puerto Rico’s population would determine the size of its
  congressional delegation.

          As for the third option of independence, there are several possible ways of structuring it,
  so long as it is made clear that Puerto Rico is no longer under United States sovereignty. When
  the United States made the Philippines independent in 1946, the two nations entered into a
  Treaty of General Relations. Congress might also provide for a closer relationship along the
  lines of the “freely associated states” of Micronesia, the Marshall Islands, and Palau. The report
  explains, with a few qualifications, that, “[a]mong the constitutionally available options, freely
  associated status may come closest to providing for the relationship between Puerto Rico and the
  United States that advocates for ‘New Commonwealth’ status appear to desire.”

           With regard to process, the Task Force focused on ascertaining the will of the people of
  Puerto Rico. In particular, it sought to ascertain that will in a way that, as the report puts it,
  “provides clear guidance for future action by Congress.” The keys to providing clear guidance
  are, first, to speak unambiguously about the options the Constitution allows and, second, to
  structure the process so that popular majorities are likely. The inconclusive results of the 1998
  plebiscite, as well as an earlier one in 1993, did not strike the Task Force as providing much
  guidance to Congress.

         The Task Force therefore recommended a two-step process. The first step is simply to
  determine whether the people of Puerto Rico wish to remain as they are. The Task Force
  recommended that Congress provide for a federally sanctioned plebiscite in which the choice

                                                   3
Case No. 1:21-cv-03043-GPG-STV Document 69-3 filed 09/19/22 USDC Colorado pg 68
                                    of 68




  will be whether to continue territorial status. If the vote is to remain as a territory, then the
  second step, one suggested by the first President Bush’s 1992 memorandum, would be to have
  periodic plebiscites to inform Congress of any change in the will of the people. If the first vote
  is to change Puerto Rico’s status, then the second step would be for Congress to provide for
  another plebiscite in which the people would choose between statehood and independence, and
  then to begin a transition toward the selected option. Ultimate authority of course remains with
  Congress.

           Three points about this recommended process merit specific explanation in connection
  with the two bills the Subcommittee is considering. First, consistent with the presidential
  mandate to the Task Force, its recommended process does not seek to prejudice the outcome,
  even though it is structured to produce a clear outcome. At least once before, Puerto Ricans
  have voted by a majority to retain their current Commonwealth status. They may do so again.
  But it is critical to be clear about that status. H.R. 1230, in referring to “a new or modified
  Commonwealth status” as among the status options that are “not subject to the plenary powers of
  the territorial clause of the Constitution of the United States,” does not further the necessary
  clarity.

           Second, the Task Force’s recommended process does not preclude action by Puerto Rico
  itself to express its views to Congress. At the first step, the report recommended that Congress
  provide for the plebiscite “to occur on a date certain.” The Task Force did not, of course, specify
  that date. But if Congress wished to ensure that some action occurred but not preclude the
  people of Puerto Rico from taking the initiative, it could allow a sufficient period for local action
  before that “date certain.” If such action occurred and produced a clear result, there might be no
  need to proceed with the federal plebiscite. H.R. 900 adopts a similar approach in leaving the
  Puerto Rico Elections Commission discretion to set the date of the first plebiscite but requiring
  that it occur by December 31, 2009.

          Finally, I am authorized to state that the Administration supports the Task Force report.
  The report correctly identifies the limited options available under the U.S. Constitution for
  permanent status and sets out a process so Puerto Ricans are heard on the critical question of
  Puerto Rico’s status. The Administration therefore also supports legislation consistent with the
  report and recognizes that H.R. 900 sets out a process closely resembling that which the report
  recommends. We will work with Congress to be sure that any process to solicit the views of the
  people of Puerto Rico is transparent, understandable, and fair.

         The Administration knows well the importance of the status question to the loyal citizens
  of Puerto Rico and to the nation as a whole. We appreciate the Subcommittee’s commitment to
  this matter and the opportunity to share our views.




                                                   4
